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UNITED STATES DlSTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
Civil Action No.
DEBORAH BENTON /
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Petitioner, 03 cv 0 z?o L pUR
"- MEMORANDUM oF PoINTs ANI)

JoI-IN A. ASHCROFT, ATTORNEY AUTHORlTIES IN SUPPORT
CENERAL, UNITED STATES
DEPARTMENT OF JUSTICE and FOR WRlT OF HABEAS CORPUS
UNITED STATES DEPARTMENT OF
JUS'l`lCE FEDERAL BUREAU OF
PR|SONS,

Respondents.

 

 

l. lNTRODUCTION

Petitioner respectfully applies to the Court for a Writ of Habeas Colpus to remedy the unlawful
retroacti\ c application ola new rule changing Bureau ofPrisons ("BOP") procedure eliminating her ability
to serve the custody portion of her imposed sentence at a “correctional” as opposed to a “penal” facility. She
is presently awaiting surrender on February 21, 2003 where she has been designated to surrender to FCI,
Victorvil le. Accompanying this petition, petitioner has filed a motion for a preliminary injunction preventing
the Bureau of Prisons t`rom housing her in a penal facility as opposed to a CCC and for a stay of her self-

surrender until these issues are resolved
Petitioner is within the custody of the United States Department of Justice Federal Bureau of Prisons

("BOP") as a result of a 10- month sentence imposed on Deeember 23, 2002 which included ajudicial

 

 

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recommendation for halfway house placement As a result of actions on the part of the Department of lustice,
the BOP has designated Ms. Benton to FCI, Victorville, a penal institution
[I. FACTUAIJ BACKGROUND

On Septeniber 27, 2002, Ms. Deborah Benton entered a guilty plea to a one-count indictment charging
her with violating l 8 U.S.C. §1341, mail fraud. On December 23, 2002, the Honorable Barry Ted Moskowitz
held a sentencing hearing where he found that the applicable adjusted offense level under the United States
Sentencing Guidelines (“U.S.S.G.”) was offense level 10 which fell within Zone C. The sentencingjudge
then declined to depart dowii\vards, but, instead, imposed a split sentence of live months iii custody, with a
judicial recommendation that the custodial portion of this sentence be served in the Urban Work Cadre,
operated out of a CCC, the Pacific Furlough, and five months home confinementl See Exhibit A, Judgment
& Commitmeiit Order. Petitioner was given a self-surrender date of February 21, 2003.

Unbeknownst to counsel, Ms. Benton, or the sentencing coui't, three days prior to the date of sentencing,
the BOP promulgated this new policy, which is the subject ofthis habeas petition. See Exhibit B (letters and
memos describing “procedure change”).' According to the letter, this “procedure change” was due to “recent
guidance form the U.S. Department of Justice’s Office of Legal Counsel (“OLC”) finding that the term

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‘community confinement’ is not synonymous with ‘imprisonment. lcl. Had counsel and the sentencing

court been aware of the new policy, this may have affected the district court’s departure decisions and his

fashioning of the sentence2 This is a petition pursuant to 28 U.S.C. § 2241, though, as an alternative, the

 

' On December 23, 2002, the date ofl\/ls. Benton’s sentencing, the undersigned was
entirely unaware of the new policy and it appears that the sentencing judge was also unaware or
he would not have made a judicial recommendation which could not be implemented

2 For example, knowing that l\/ls. Benton could only be designated to a prison, rather,
than a CCC, he may have decided to depart two levels which would have placed Ms. Benton in
Zone B, allowing for a sentence ofprobation with a condition ofprobation that she serve a
portion ofa sentence in a CCC. See U.S.S.G. § 5C1.1(c)(3), app. n.3(b).

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Court could construe it as a petition pursuant to 28 U.S.C. § 2255 and re-sentence Ms. Benton to probation
and have her serve 5 months in a halfway house as a condition ofprobation since that would have been a
permissible sentence in the first instance No exhaustion of remedies is required3
III. ARGUMENT

A. liiti'oductioli

'fhe BOP’s new rule, which it refers to as a "procedure change,” is both an erroneous reading ofthe
controlling statute, 18 U.S.C. § 3621(b), and an abdication of its responsibilities to interpret that statute. That
statute clearly provides that BOP is solely responsible for designating an individual’s place of imprisonment
and that designation includes both “penal” and “correctional” facilities CCCs are "correctional facilities" and
therefore the BOP should allow initiates to reside at CCCs as previously pemiitted. Assuming section
362 l (b) ’s meaning were not plain, the legislative history and other statutory schemes support the previous and
refute the current interpretation of the statute This new interpretation of section 362 l (b) cannot be accorded
the usual deference due to agency interpretations of statutes because it ignores the long-standing and
unchallenged prior interpretation and it is based upon erroneous legal reasoning. By issuing this “procedure
change,” the BOP has also violated the strictures ofthe Aduiinistrative Procedure Act (“APA"). Finally, this
change in policy operates retroactively to disadvantage and upset l\/ls.Benton’s settled expectations which is

impermissible Based on each ofthese arguments, l\/ls. Benton requests relief

 

 

3 Brown v. Ri`son, 895 F.2d 533, 535 (9lh Cir. 1990) ("The requirement that federal
prisoners exhaust remedies before filing a habeas corpus petition wasjudicially created; it is not
a statutory requirement.”). The purpose underlying exhaustion does not exist here; the Regional
Designator for the BOP who determined that Ms. Benton was to be designated to FCI, Victorville
cannot alter a nationwide policy change implemented by the BOP. Hence, exhaustion would be
futile in any evcnt, thus, need not be attempted .S`ee Frrzt'ey v. Barecm OfPrc`soris, l F.3d 924, 925
(ch Cir. 1993) (|iolding that petitioner need not exhaust administrative remedies before filing for
federal court review of decision to deny credit for pre-trial detention when Regional Director of
BOP would "almost certainly have denied her request" pursuant to official BOP policy
prohibiting issuance ofcredit for time spent on home confineiiient); Hoivel/ i-'. INS, 72 F.3d 288,
291 (2d Cir. 1995) (petitioner need not exhaust where would be futile).

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B. Tlie Statute: lts Plain Meaning The Former & New Interpretations Thereol`

l. Background & Fl`lie Former Interpretation

ln 1930, the BOP was established within the Department of .lustice to provide a central federal
organization responsible for the care and treatment offederal prisoners l-l.R1 Rep. No, 106. 71 st Cong., 2d
Sess. l (1930). Tlie BOP is charged with the authority and responsibility under 18 U.S.C. § 3621(b) to
"designate the place of . . . imprisonment" for prisoners who have been sentenced to a term of imprisonment
under relevant federal statutes BOP "may designate any available penal or correctional facility that meets
minimum standards of health and habitability established by the Bureau [of Prisons], whether maintained by
the Federal Government or otlierwise."18U.S.C.§3621(b).“ The language now contained in section 3621(b)
originated in the Act of May 14,1930, Pub. L. No. 71-218, 46 Stat. 325 ("1930 Act"), and was adopted to
resolve an ambiguity as to who had the power to designate the place of confinement of federal prisoners
S.Rep.l\lo. 533, 71 st Cong., 2d Sess. 2 (1930) ("S. Rep. l\lo. 533") (statement ofthe Attorney General). The
language enacted in 1930 has remained substantially unchanged throuin its present codification in 18 U.S.C.
§ 362 l (b). During the various reenactments ofthe provision, there was never any indication that the power
to designate the place of confinement was, in any manner other than those specified in the statute, limited
See, e.g., S. Rep. No. 225, 98th Cong., lst Sess. 141 (1983).

As early as 1985, the BOP defined section 3621(b)’s term “imprisonment” as including CCCs because,

according to a 1985 legal opinion, they constituted "correctional facilities.”5 The BOP and related agencies

 

lSection 3621(b) is applicable to those convicted ofoffeiises committed on or after
November 1, 1987. See 18 U.S.C. § 3621 note. lt is based on former 18 U.S.C. § 4082(b),
reprinted iii 18 U.S.C. § 4082 note, which governs as to offenses committed before November 1,
1987. Former section 4082(b} provided in part that "[t]he Attorney General may designate as a
place ofconfiiiement any available, suitable, and appropriate institution or facility, whether
maintained by the Fedei'al Govemment or otherwise."

5 This 1985 legal opinion is referenced in Exhibit G btit although requested by petitioner,

has not been made available by the BOP. A FOIA request is presently pending
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have consistently reiterated that definition over these many years See, e.g., Program Statement No. 7310.01
(contrary to home confinementj confinement to CCCs is deemed to be confinement to a "penal or correctional
facility). The OLC, the same entity which now recommends that the BOP alter its well-established
interpretation ofsection 362 l (b), previously opined that the BOP‘s power under section 362 l tb) to designate
the place ol`incai'ceration of federal prisoners was “unqualified."“ Statatory Aur/ioi'iry to Contract Wi`th the
Pri'vrite Secior for Secure Faci`liti`es, 16 Op.OLC 65 (1992) (available at www.usdoj .gov/olc/quinian. 1 5.htm)
(“1992 OLC opinion”) Exhibit E. in this same opinioii, in refuting the General Aecounting Office’s claim
that the BOP’s power to place inmates was limited to federal state or local prisons the OLC specifically

States:

On the contrary, there is evidence in the legislative history of section 3621(b) that at least after a
1965 amendment Congress specifically anticipated that BOP would designate privately operated
facilities as places of incarceration. In 1965 Congress amended the designation provision to allow
designation ofa "facility" as well as an "institution." Act ofSept. 10, 1965, Pub. L. No. 89-176, 79
Stat. 674 (former § 4082(b), reprinted in 18 U.S.C. §4082 note). The word "facility" was defined
to "iucludc a residential community treatment center." !r]. ai 675 (former § 4082(g), reprinted
iii 18 U.S.C. § 4082 note).7 The legislative history of former section 4082(g) indicates that by
enacting thatdet`inition Congress intended that "facility" would include eommunitytreatment
centers such as those already being used to placejuvenile offenders See S. Rep. No. 613 at 3-4.

1992 OLC Opinion, Exliibit E (emphasis supplied, footnote in original). The OLC opinion further provided:

The residential community treatment centers1 to which the bill authorizes the Attomey General to
commit and transfer prisoners, are similar to the so-called halfway houses now operated by the

 

° Title 18 U.S.C. § 4125(b) is additional authority for the establishment ofalternative
facilities for “imprisonment.” lt authorizes the Attorney General to "establish, equip, and
maintain [worl<] camps upon sites selected by him . . . and designate such camps as places for
confinement ofpersons convicted of an offense against the laws ofthe United States." Similariy,
in a related statute, Congress authorized “inactive Department ofDefense facilities for the
confinement ofUnited States Prisoners." 18 U.S.C. § 4001 note.

7The definitionof"facility" iii former section 4082(g) did not limit application ofthe term
to residential community treatment centers. See 2A l\lorman .l. Singer, Siit/ier!rrnri Siriitttory
Coiistrircri'oii § 47.07, at 152 (3d ed. 1992 rev.) ("Sutherlaiid") ("f"f]he word `includes' . . .
conveys the conclusion that there are other items includable, though not specifically
enumerated"). ln any event, Congress deleted the definition of"facility" when it substantially

reenacted section 4082(b) in section 3621(b).
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Dcpartnient ofiustice forjuvenile and youthful offenders . . . S. Rep. No. 613 at 3-4 (emphasis

added). According to the Senate Report, Congress envisioned that "under the bill's authority to use

community centers for older types of prisoners cr siiiii`lrir variety Oft)rgrinizriri`onrilplans will be

cir/opterf." lrl. at 4 (emphasis in original).

Accoi'dingly, for many years BOP has, "with the knowledge of Congress." contracted "for the

placement of lower security inmates in private facilities particularly contract Comintinity Treatment

Centers." 1985 l-learing at 22-23 (Testimony ofl\lorman A. Cai'lson, Director, BOP). See also id

at 16-17.

lt is also significant that the BOP’s ability to rely upon these CCCs as places ofiinprisonment forinrnates
has led to enormous growth in the private sector of these facilities While the undersigned has been unable
to obtain, on this short notice, current figures, the 1992 OLC report indicates that in 1984, approximately 80
percent ofoffenders serving sentences ofover six months were doing so through contract CTCs.g One can
only assume that these numbers have increased in light of the great increase iri the number of incarcerated
individuals See Exhibit C (graph and article demonstrating growth of federal prison population).

Examination of the predecessor statute to section 3621(b) reveals that former section 4082(b), gave the
Attoriiey General the authority to place a federal prisoner in a "facility" including, but not limited to, a
residential community treatment center. Legislative history provides that Congress anticipated that these same
types of residential community treatment center facilities were contemplated by the 1965 amendment as many
already existed in connection with similar facilities for juvenile offenders S. Rep. No. 613 at 3-4 (under the
"authority to use community centers for older types of prisoners a similar variety of organizational plans will
be adopted").

lt has been the prevailing wisdom within the BOP1 as advised by its legal counsel, the OLC, that there

was no statutory basis in section 3621(b) for distinguishing between residential community facilities and other

types of facilities for “imprisonment” purposes Because the plain language of section 3621(b) allows the

 

3 This means that necessarily, that neither the OLC nor the BOP read section 3624(c)’s
provision regarding pre-release custody was not read to limit the BOP’s ability to place
individuals for only tip to six months as the OLC now suggests is the appropriate reading in its

Deceinber 20, 2002 memo, Exhibit B.
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BOP to designate “aiiy available penal or correctional facility," it was “unwilling to find a limitation on that
designation authority based on legislative history. l\/loreover, the subsequent deletion of the definition of
"facility" under former section 4082 further undermines the argument that Congress intended to distinguish
between residential community facilities and other kinds offacilities.” 1992 OLC Opinion, Exhibit E (citation
omitted).

Against this backdrop of the well-established interpretation of section 3621(b)’s phrase “correctional
facility” as including CCCs, BOP authored numerous program statements and manuals restating time and
again their view that a CCC meets the dehnition ofa "penal or correctional facility” pursuant to 18 U.S.C.
§ 3621(b). See, e.g.. BOP Program Statement 5100.07, chap. 4 at 2 (9/3/99) (“Security Designation and
Custody Classif`ication Manual”); Program Statement 7300.09 (“Community Corrections Manual”) 6.1.1, at
l (1/12/98); see also Prog. Snit. 5100.07 ("Security Designation and Custody Classification Manual"), ch.4,
at 2 (9/3/99, with 1/31/2002 changes); Prog. Smt. 7300.09 ("Community Corrections l\/lanual") § 6.1.1, at l

(1/12/1998) ("Direct Court Commitments. Direct court commitments are cases where a U.S. District Court

 

ludge or Magistrate l ridge has imposed a short sentence (one year or less, or longer with approval from the
Regiorial Designator) of confinement with the recommendation that it be served in a contract CCC . . . ");
Bureau of Prisons, ".ludicial Resource Guide to the Federal Bureau of Prisons," at 16 12000) (describing
"Direct Designation to a Commuiiity Corrections Center"); Bureau of Prisons, "A ludicial Guide to the
F ederal Bureau ofPrisons," at 10-1 1 (1995) ("Title 18 U.S.C. § 3621 provides that the Bureau ofPrisons will
designate where a prisoner will serve his or her sentence . . . . The CCl\/l [Communications Corrections
Manager] makes a determination . . . with court concurrence, whether he or she might appropriately be placed
in acontractcommunity corrections facility."). Even the United States Sentencing Commission was aware
of and has approved the practice of direct CCC designation under section 362l(b). ln a joint report to

Congress pursuant to 28 U.S.C. § 994(q) entitled "Maximum Utilization of Prisons Resources" (June 30,

 

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1994), the Coin mission and BOP considered the statutory mandate to ensure that the classification system
results in "placing inmates in the least restrictive facility necessaryto ensure security." 28 U.S.C. § 994(q)(2).
As thejoiiit report rioted:
C onimunit y correction centers (CCC) provide two program components within their
facilities: a pre-release component and a community corrections component The
community corrections component is designed to be sufficiently punitive to be a
legitimate sanction, meeting the needs of the court and society, yet allowing the
offender to undertake other responsibilities such as participation in work . . . Except
for employment and other required activities, offenders in the CCC component must
remain iii the facility at all times Recreation, visitation, and other activities and
programs are provided in-house.
Maximum Utilizatiou Report, at 9~10.
2. The New interpretation
The BOP’s new “procedure change" or policy is a categorical refusal to directly designate individuals
to CCCs which it had previously deemed “correctional facilities,”and a categorical refusal to designate
individuals with greater than 10% or six months remaining on their federal sentence to these CCCs. lt is due
to a rebuke issued by Department of Justice officials criticizing the BOP for “lenient” treatment afforded to
white-collar criminals in the wake of corporate seandals. See Exhibit F. lt resulted the in OLC’s issuance of
an opinion on Deceinber 13, 2002, advising the BOP that it could no longer consider CCCs as “correctional
facilitics." See OLC l\/leinorandum for Larry D. Tlioiiipson, Deputy Attorney General, Exhibit B pp. 4-5.
According to the OLC l\/lemorandum, the “procedure change" went into effect as of Deceinber 20, 2002,
however, dissemination of this information did not occur until after the petitioner’s sentencing in this case.
The OLC l\/lemorandum opines that the BOP no longer has the “discretion” to designate individuals directly
to CCCs to serve their federal sentences because “community confinement does not constitute imprisonment
“ as that term is used in 18 U.S.C. § 3621(b)” lri’. at 1; Exhibit 13 at 4. The new opinion is based upon the

following three flawed assertions; (1) the BOP’s longstanding interpretation of section 3621(b) conflicts with

provisions ofthe Sentencing Guidelines, U.S.S.G. § 5C1.1; (2) it conflicts with cases which have relied upon

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this Guidelines provision; and (3) it conflicts with 18 U.S.C. § 3624(c) which, according to the “new”
interpretation only permits the BOP’s placing an inmate in community confinement only for the last 10% or
six months ofliis or her sentence, whichever is less These assertions will be addressed infra at pp. 17-20.
The new interpretation cannot be squared with the statute’s plain meaning nor with its legislative history.
Neither should deference should be accorded to the agency’s “new” interpretation as it is unreasonable
2. The plain meaning
Title 18, United States Code, Section 3621, entitled “lmprisonment ofa Convicted Person,”
directs the BOP regarding how to house inmates. Subsection 3621(b) states;
Place of imprisonment The Bureau of Prisons shall designate the
place of the prisoner's imprisonment The Bureau may designate any
available penal or correctional facility that meets minimum standards
ofliealtli and habitability established by the Bureau. . . .

18 U.S.C. § 3621(b) (emphasis supplied). Our analysis begins with the language ofthe statute As
the Supreme Court has recently said, in construing a statute the one "cardinal canon before all others" is that
we must "prcsume that a legislature says in a statute what it means and means in a statute what it says there."
Coiinecricrit Nrtt'! Btiii/t v. Geriirriin, 503 U.S. 249, 253-54 (1992). "When the words of a statute are
unambiguous theii, this first canon is also the last: '[the] inquiry is complete.'" fd. at 254 (quoting Rubt`n v.
Urii`tert' Siriies, 449 U.S. 424, 430 (1981)); Chevron. U.S.A., fnc. v. Natural Resources Deferrse Counsel, Inc.,
467 U.S. 837 (1984) (in reviewing the construction of a statute, courts first must look to the text of the statute
to determine whether Congress "has directly spoken to the precise question at issue" lfCongress has made
clear its intent through the exact language used in the legislation, that ends the court's inquiry).

The plain language of section 3621(b) gives the BOP open-ended authority to place federal
prisoners in "any available penal or correctional facility" that meets minimum standards of health and

habitability. The statute contains two phrases describing imprisonment penal facilities and correctional

facilities both of which must be given meaning Rrrtzlaf v. Uiii'rer! States, 510 U.S. 135, 140-41 (1994)

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(admonishing that judges should hesitate to treat statutory terms as surplusage)(other internal citations
omitted); see also }'frtivru`i`an Ai`ri"ines, fric. v. Norri`s, 512 U.S. 246, 253-54 (1994) (rejecting a construction
ofthe Rail\vay Ltiboi' Act because the proffered construction ofthe statute would render the phrase after the
disjunctive term "mere surplusage") (other internal quotations omitted)',Unc`ted States v. Johnson, 37
F.3d1352, 1353 (9th Cir. 1994) (advising that "courts should avoid interpretations that render some portions
ofthe [Sentencing] [G]uidelines superfluous") (citing Um`ten'States v. Pr)wet'l, 6 F.3d 61 1, 615 (9‘h Cir. 1993)
(statutes are not to be construed as containing surplusage). lt follows that each of these terms are used because
they refer to different sorts of facilities Logically, a "penal“ institution is a prison or detention center, such
as an MCC. However, by contrast, a "correctional facility" can be defined a number of ways.

Aside from the history attendant to the BOP’s prior definition of imprisonment as including
CCCs and their encouragement ofthe growth ofa number ofthese type offacilities in order to accommodate
its definition, there is much support for the argument that "correctional facility" not only implies an alternative
to penal institutions such as prisons and detention centers, but that it directly includes CCCs. The term
"CCC" itself`, widely used by the DOJ and BOP, stands for "community corrections center." See Exhibit B.
Notal)ly, the employment title of the individual who wrote a memorandum received by inmates informing
them of the change in policy is "Community Corrections Manager." Exhibit B. The l\/Iemorandum for Chief
Executive Officers detailing this new policy is from the “Correctional Programs Division.” See id. ln fact,
as is demonstrated above, CCCs were developed due to the BOP’s need to place individuals in “correctional
faciiities.” See supra at pp. 7~8. lt follows that CCCs must therefore be considered "correctional facilities,"
per the language of§ 3621(b), by both the BOP and the DOJ. The Pacific Furlough Facility which administers
the Urban Work Cadre program is clearly a such a “correctional facility” operated under the auspices of the

BOP itself. chce, under the plain meaning of section 3621(1)), l\/ls. Benton can be housed there.

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The Supreme Court has interpreted the language of this statute favorably to Ms. Benton. ln
Reno v. Korriy, 515 U.S. 50, 61 (1995), the Court recognized that “community corrections centers” meet 18
U.S.C. § 3621(1))'3 definition ofa "penal or correctional facilityl Ir!. (citing U.S. Dept. of.lustice, Bureau of
Prisons Program Statement No. 7310.02 (Oct. 19, 1993). According to Reao v. Koray, the significant factor
in determining whether or not someone was subject to imprisonment or pre-trial release was not the nature
ofthe facility but rather whether or not the individual was subject to the control ofthe BOP. See id.; see also
Rmir/rili’ v. W/ielnn, 938 F.Zd 522, 525 (4"‘ Cir_ 1991) (defendants who are "detained11 or “sentenced“ always
remain subject to the control of the Bureau). l\/ls. Benton is under the control of the BOP.

C. Under Chevron, the Bureau of Prisons New Interpretation Should Not Be Afforded
Anv Def`erence.

While the plain meaning and the legislative intent is clear from section 3621(b), assuming
argiienrlo, that it were not, the BOP’s “new” interpretation, should not be accorded deference The Supreme

Court has held that if Congress‘s legislative intent is not clear from the Wording of a statute, and therefore the

- statute requires interpretation, courts must evaluate the regulations created by the agency charged with

enforcing the statute C/ievron, 467 US. at 2782. Here, while the BOP has purported to “reinterpret” the
statute in a manner entirely distinct from its longstanding prior interpretation which was left unchallenged,
its “new” interpretation is not entitled to "Clievron deference” for three reasons: (1) it is an unreasonable
interpretation because it ignores the difference between penal and correctional facilities, it ignores a host of
regulations which BOP promulgated utilizing this interpretation, and it imposes a nonstatutory limitation on
the BOP’s designation authority; (2) ifthe genesis ofthis “new interpretation” Was to align the BOP’s views
with those ofthe Sentencing Commission and the DOJ, this interpretation is not the BOP’s, and it is not
entitled to deferencc, and (3) all three purported reasons underlying this “procedure change,“ as set forth by

the OLC in Exhibit B pp. 4-7, are flawed

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ln C/ievron, the Court created two sets of instructions for courts in determining whether
regulations are valid. First, ifCongress explicitly left a "gap" in the Eegis|ation which it expected the agency
to fill, the enforcing agency should draft appropriate regulations fri'. So long as these regulations are not
"arbitrary, capricious or manifestly contrary to the statute," courts shall give them "controlling weight." Id.
On the other hand, if the statute is “silent or ambiguous" with respect to interpretation on a particular issue,
Clievrou held that agencies should establish "reasonable" regulations to elucidate what is meant by the
legislation fd. lf the regulations result from a "reasonable interpretation" of the statute, courts shall follow
those regulations and refrain from substituting their own constructions ofstatutory provisions ld.

Section 3621(b) distinguishes between two types offacilities: penal and correctional To the
extent that it did not not clearly set out the definition of"correctional facility," it left it up to the BOP to give
that term meaning The term “correctional facility" as found in section 3621(b) is a general directive
regarding the “place of imprisonment” of all, notjust a certain group ofprisoners, such as those referenced
in section 3624 ln interpreting section 3621(b), the BOP encouraged the development and operation ofa
number ofCCCs as a direct result ofits interpretation ofthis subsection as “allowing it to place an inmate in
a CCC for more than the ‘last ten per centum ofthe term, or more than six months, ifappropriate.” See BOP
Program Statement 7310.04 (12/16/98), Exhibit D.

Assuming, arguenci'o, that section 3621(b) is vague and llsilent" as to the meaning of llcorrectional
facility," Cfievron and its progeny dictate that the BOP must interpret the "statutory scheme" to give it effect.
C/ievrou holds that this interpretation should be respected so long as it is a "reasonable" one. The BOP did
in fact make its determination of Congress's intent long ago when it determined that it could place certain

initiates in certain circumstances in CCCs

l\lotably, the Clievron Court also provided: "we have long recognized that considerable Weight

should be afforded to an executive departments construction of a statutory scheme it is entrusted to

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administer, and the principle of deference to administrative interpretationsll lrl. (citing .lllumimtm Co. of
America v. Ce/itralLi/tcoln Peoples' Util. Dist., 467 U.S. 380, 389 (1984), Bltim v, Bacon, 457 U.S. 132, 141
(1982), Uriiori Electric Co. EPA, 427 U.S. 246, 256 (1976),1)tvestment Company lnstitate v. Camp, 401 U.S.
617, 626-27 (1971)) (other citations omitted). lt is this precise finding that directs those affected by a certain
regulation to respect an agency's determination of what the law should be in that agency's field. lt is also this
finding that demonstrates that the BOP's original interpretation of section 3621 was correct and should control.
The BOP promulgated a number of regulations both indicating that the term "correctional facilities"

may be defined broadly and that such a definition includes CCCs Title 28 CFR § 91 . l , pertaining to grants
for correctional facilities states that grants will be made available to states to " . . . operate or improve
correctional facilities including boot camp facilities and other alternative correctional facilities that can free
conventional space for the confinement of violent offenders . . . " (emphasis supplied). The regulation
reiterates elsewhere that: "[c]orrectional facilities includes boot camps and other alternative correctional
facilities for adults orj uveniles that can free conventional bed space for the conti nement of violent offenders."
28 CFR § 91.2. Furthermore, another regulation pertaining to employees benefits states:

Confinement. ln general a jail, prison, or other penal institution or

correctional facility is a facility which is under the control and

jurisdiction ofthe agency in charge ofthe penal system or in which

convicted criminals can be incarcerated Confinement in such a

facility continues as long as you are under a sentence of confinement

and have not been released due to parole or pardon. 1’ou are

Coiisirleretl eonjinerl even thoung you are tetirporarily or intermittently

outside of tlie facility (e.g., on work release attending scliool, or

liospitalizecl).

20 CFR § 404.1506. (emphasis supplied). The last sentence ofthis regulation certainly refers to

confinement in a halfway house or CCC, as those institutions exist for the very purpose of confining an

individual except for times when the individual is allowed to leave the premises for purposes of "work

 

release," "attending school," or other appointments Accordingly, this sentence would be unnecessary if

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"correctional facilities" did not include CCCs ln fact, the BOl-"’s former interpretation is necessary in order
to give meaning to the phrase "or correctional facility" which, given its appearance in the statute after "penal,"
makes clear that the BOP's initial designation authority extends to halfway houses This point carries forward
a 1965 amendment to the predecessor statute, former section 4082(b), which added the phrase “or facility"
after "institution" in specifying the kinds ofplaces that could be designated for service ofa sentence, and
dehned "facility" to "include a residential community treatment center." 18 U.S.C. § 4082(g) (former
provision). This history was recounted by the Office of Legal Counsel itself just ten years ago, concluding:
'I`here is, moreover, no basis in section 3621(b) for distinguishing between residential
community facilities and secure facilities Because the plain language of section
3621(1)) allows BOP to designate 'any available penal or correctional facility,‘ we are
unwilling to find a limitation on that designation authority based on legislative history.
Moreover, the subsequent deletion of the definition of 'facility' further undermines the
argument that Congress intended to distinguish between residential community
facilities and other kinds offacilities.
"Stattrtor_v /lutliority to Conti'act Witli tlie Private Secror for Secnre Facilitt`es," 16 Op.OLC 65 (1992)
(available at www.usdoi.gov/olc/quinlan.1 5.html. Exhibit E. 'l`he legislative history ofthe 1984 Sentencing
Reform Act reveals no intent at all to limit the BOP's authority, in existence since 1965 at least, to designate
a CCC as the place for service of a sentence of imprisonment "Proposed 18 U.S.C. § 3621(b) follows
existing law . . . . After considering [specified] factors, the Bureau of Prisons may designate the place of
imprisonment in an appropriate type of facility . . . " Sen. Judiciary Comm., "Comprehensive Crime Control
Act of 1983," S. Rep. 98-225, 98th Cong., lst Sess., at 141-42 (1983) (emphasis added). Section "3621(b)
was 'not intended to change pre-existing law with respect to the authority of the Bureau."' McCarthy v. Doe,
146 F.3d 118, 123 n.2 (2d Cir. 1998). Since that pre-existing law included the authority to designate a CCC

for service of a sentence of imprisonment, the respondent's action in this case is contrary to Supreme Court

and Circuit court precedent regarding the governing statute

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The BOP‘s interpretation of section 3621 was viewed as "reasonable" and remained unchanged until
recently when the DO.l came under fire for the treatment of a few white collar offenders See Exhihit F. Due
to mounting political pressures and associated public criticism, the DOJ essentially recalled the BOP's
interpretation ofthe law that allowed the agency to place inmates in CCCs in some situations The DOJ thus
imposed its new interpretation of this old law, despite its lack ofcxpenisc to do so. As a matter ofpublic
policy, it will not do to have one agency superimpose its will and legal interpretation on another agency,
which is exactly what the DOJ has done here. See Exhibit B (stating that pursuant to the OLC's "guidance,"
the BOP has adopted the finding that the terms "comrnunity confinement" and "imprisonment" should not be
used interchangeably.).

lt is significant that the agency’s fenner interpretation of section 3621(b) as allowing initial
designations of and direct commitments to a CCC in satisfaction of a sentence of imprisonment, as stated in
Program.Statement 7310.02 (1993), was expressly noted and approved by the Supreme Court in Reno v.
Koray, 515 U.S. at 62. The Court held that such interpretations in Program Statements of statutes the BOP
is charged with implementing and administering, such as its interpretation of this statute, are entitled to "some
deference,'l i`rl. at 61, so long as they represent "a 'permissible construction of the statute."' la'_ (quoting
Clievron U.S./l., lnc. v. Natural Resoarces Defense Coaneil, lnc., 467 U.S. 837, 843 (1984)), "Once we have
determined a statute's clear meaning, we adhere to that determination under the doctrine of stare decisis, and
we judge an agency's later interpretation of the statute against our prior determination of the statute's
meaning_").

Clievron deference cannot mean that agencies can make precipitous changes in well-established
interpretations of statutes based upon political pressure lndeed, the historical nature of the prior interpretation

should militate against deferring to any new construction barring some momentous change in the law, the

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circumstances or a manifestation ofcontrary congressional intent. None ofthe above is present here. This
interpretation unreasonable and should not be accorded deference

D. The OLC’s Purported Reasons Are Unreasonable.

Not one of the three reasons stated presently by the OLC to justify this significant departure from a
longstanding interpretation of a statute demonstrate that not oiie, either separately or in combination can
withstand Sci'utiny.

The OLC indicated that the BOP’s longstanding practice of using CCqu as a “substitute for
imprisonment is inconsistent with U.S.S.G. § 5C1.1.‘° Such inconsistency arises, it asserts, because the
Sentencing Giiideliiies define community confinement and distinguish it from imprisonment and provide that
defendants who fall within Zoiies C and D ofthe Sentencing Guidelines Table are not eligible for a direct
commitment to community confinement without serving at least a portion (for Zone C individuals) if not the
entire sentence (Zone D individuals) by a term of“iriiprisonment.” lrl. Thus, according to the OLC, the BOP
violates this dictate ofthe Sentencing Guidelines when it designates these Zone C or D individuals to CCCs.

This is simply not the case. fhcre is no tension between U.S.S.G. § 5C1.l and the former
interpretation of section 3621(b). fn fact, there is no indication whatsoever that the Sentencing Commission
considered 18 U.S.C. § 3621(b) or intended to encroach upon the BOP’s interpretation ofthis statute in any
fashion Sectioii 5Cl.1 is only meant to constrain sentencingjudges’ ability to regulate the type ofprison
facility when imposing some type ofimprisoiimerit as a condition ofsupervised release or probation - this
is the only time judges have actual authority as opposed to the ability to recommend, certain conditions of

confinement in combination with probation or supervised release, see U.S.S.G. 5C1.l(c)(2)-(3),App.n.3(B),

 

9 CCCs are not just “coinmunity confinement centers,” but also referred to as
“comnitrnity corrections centers.”

10 U.S.S.G. § 5Cl.l(f) states: "lftlie applicable range is in Zone D ofthe Sentencing

Table, the minimum tertii shall be satisfied by a Sentence of iniprisonnient."
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4(B). Put another way, section 5C1.1 exists to limit sentencingjudges _ not the BOP. lt circumscribes the
classes o findividuals, Zones A, B and split sentence recipients from Zone C, and the manner in which district
court judges can dictate places of incarceration (only as a condition of probation or supervised release or as
a portion of a split sentence) for good reason - in order to leave the discretion to place inmates in any “penal
or correctional facility" with the BOP, the agency charged with this decisionmaking authority by Congress.
See 18 U.S.C. § 3621(21), (b) (“A person who has been sentenced to a term of imprisonment . . . shall be
committed to the custody ofthe Bureau ofPrisons . . . . [which] shall designate the place ofthe prisoner’s
imprisonment”). Thus, section 5C1.1 provides that there are only these three instances where sentencing
courts, as opposed to the BOP, can dictate where an individual is to be imprisoned Again, there is good
justification for tliis. Were the BOP to receivejudicial dictates regarding placement ofinmates in every case
as opposed to "recoiiimendations,” their mission as per section 3621(b) regarding making that determination
after considering the five factors set forth in the statutell could never be fulfilled ln addition, one could only
imagine the problems which would arise if judges, who are generally unaware of security classifications
attendant to certain inmates and institutions were to be making binding decisions for all inmates ln fact, by
limiting the individuals for whom j trdges can make such binding determinations to those falling within Zones
A, B and over a portion ofa split sentence in Zone C, the Sentencing Comniission ensured that this group of
individuals would be limited and are most likely to be the lowest security risks _ either people with little to

no criminal history convicted ofrelatively minor offenses by virtue ofwhere they fall within the Sentencing

 

ll Section 3621(b) provides that the BOP is to make a decision regarding place of
iniprisonment, whether it be penal or correctional facility based upon the following five factors:

“(1) the resources ofthe facility contemplated;
(2) the nature and circumstances of the offense;
(3) the history and characteristics of the prisoner;

 

(4) any statement by the court that imposed the sentence . . . .
(5) any pertinent policy statement issued by the Sentencing Commission pursuant to

section 994(a)(2) oftitle 28. 18 U.S.C. § 3621(b).
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Guidelines Table. Aside from that ability provided pursuant to section 5C1 . 1 , judges never had and do not
possess today the authority to order that an individual serve a sentence in a particular facility See, e.g.

Lerlesrira v. Utriterl$iates, 445 U.S. 1323. 1324 (1971) (“[l]t is the responsibility ofthe Attoi'ney General to

designate the place at which a convicted prisoner is to serve his sentence . . . _ He is free to accept or reject
the recommendation of the sentencing court as to the place of confinement”); Uni'tetl States v. Jam`ec, 505

F.2d 983, 986 (3rd Cir. 1975) (“[A]tteinpts to prescribe the place of confinement . . . is surplusage and
ineffective"). All they could ever do was to recommend a particular type of imprisonment, whether it be penal
or CCC or home confinementl l\lotliing in section 5C1.1 purports to expand or limit that authority12 That
the BOP was given greater authority to select from among conditions of confinement to satisfy the term of
“iniprisoiiment” imposed by the judge is not a surprising principle since it has both statutory and historical
basis and the BOP has access to all the statistics and information in order to properly make that decision
'l`o the extent that the Court believes there is an inconsistency between the Sentencing Conirnission’s
view and ofthe BOP’s former interpretation the Sentencing Coinmission is only authorized to interpret and
promulgate guidelines to fulfill the purposes ofsentenciiig as set forth in 18 U.S.C. § 3553(a)(2). 28 U.S.C.
§ 991 . Nowliere in its grant of statutory authority is the Sentencing Commission directed to interpret section
3621(b), to define “imprisonnient” or to exclude CCCs from any such definition To the extent that the
Sentencing Commission has purported to do so, any such interpretation is unauthorized and beyond its
delegated responsibilities See 28 U.S.C. § 991, et seq.. lndeed, the BOP is ordered by Congress in section
3621(b) to consider only as one of five factors, the Sentencing Commission’s policy statements, and nowhere

does the statute authorize the Sentencing Cornmission to interpret section 3621(b) for the BOP.

 

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' Examination ofthe Sentencing Refomi Act as a whole shows that
"iiiiprisoiiment," as stated in section 3621(b), is to be distinct from two the other types of
sentences or aspects of sentences such as probation a fine, or supervised release lmprisonment
covers a range ofi'estrictions on the defendants liberty, including time spent on furlough, see 18

U.S.C. § 3622, and time spent in home continenieiit. See 18 U.S.C. § 3624(0)).
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The Ol,C`s reliance upon cases which have interpreted section 5C1.1 in effect puts the cart before the
hor'se. These cases did not attempt in any manner to reconcile section 5C1.1 with the BOP’s interpretation
ofsection 3621(b). All the cases cited by the OLC in its memorandum distinguish between “community
conliiiement” and “iinpi'isoiinient” based solely upon section 5C1.1. As noted above, section 5C1.1 does
indeed limit the sentencing courts’ ability to sentence a certain class ofdefendants and limits their ability to
dictate the place (or type) of imprisonment That is all that these cases can Stand for. lust because the
sentencing courts cannot place individuals in CCCs or home confinement except under certain limited
circumstances does not mean that the BOP is similarly constrained - Congress delegated by Statute this
authority to the BOP, not tojudges.

Even assuming that these cases did discuss the issue ofthe differing definitions of“imprisonment”
set forth by the Sentencing Coinmission and the BOP, the Sentencing Commission’s definition, as noted
above, is not controlling and would be unauthorized Since it is the BOP that is charged with interpreting
section 3621(b). Cases that follow an unauthorized guidelines provision cannot justify it lf the Sentencing
Comrnission was wrong in its efforts to define “imprisonment,” the cases following it are just as wrong and
cannot provide support for anything

Section 3624(c) pi'ovides:

The Bureau of Prisons shall, to the extent practicable, assure that a prisoner
serving a term of imprisonment spends a reasonable part not to exceed six
months, of the last 10 per centum of the term to be served under conditions that
will afford the prisoner a reasonable opportunity to adjust to and prepare for
the prisoner’s re-entry into the community The authority provided by this
subsection may be used to place a prisoner in home confinement

The OLC memorandum contends that permitting the BOP to directly commit individuals from the
outset or whenever it deems appropriate to CCCs render the time limitation set forth in section 3624(c) “null

with respect to community confinement” This is not so. First, this statute does not say anything about CCCs

or even at “correctional facilities" lt is a mandate to the BOP reguiring (as indicated by the use ofthe word

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“shall”) that it provide to all prisoners serving terms of imprisonment an opportunity to reintegrate into the
community 18 U.S.C. § 3624(c). Nowhei‘e does the statute specify what sort of “conditions” it contemplates
affording to prisoners to provide this “reasonable opportunity to adjust to . . . re-entry into the community.”
See id The only thing that Congress did feel the need to include is express authorization to afford someone
home confinement as one type of condition lrl. Thus, it appears that under the statute, Congress
contemplated different types of conditions for different inmates - home confinement “may be used” or the
BOP ca11 employ any other “conditions that will afford the prisoner a reasonable opportunity to adjust to and
prepare for the prisoner’s re-entry into the community,” whether that be classes at the prison facility or
halfway house or a work program or work cainp.'i The only limitation and it appears to exist to give BOP
some i~eprieve is that ilie BOP must only provide this benefit for the last 10% not to exceed six months ofthe
prisoner’s term. lrl. The OLC’s argument that allowing direct CCC placement renders the six-month
limitation in section 3624(c) mill and void with respect to CCC placement would only be valid ifthe statute
specified CCC placement as the only type of“conditioii” contemplated to re-iiitegrate prisoners into the
community Because it set forth broad parameters for these “conditions" and by denoting “home
confinement1 as one such condition necessarily envisioned a broader range of “conditions” than CCC
placement alone

BOP's own Pro gram Statements have always recognized neither this statutory encouragement to the
BOP to facilitate the process of pre-release nor its limitations has any bearing on the general designation
authority See Program Statement l\lo. 7310.01 (The Bureau ofPrisons interprets section 362 l (b) and section

3624(c) as allowing it to designate inmates to community corrections center confinement for more than the

 

13 This approach is entirely consistent with certain classes of inmates serving sentences at
CCCs - those inmates could have their conditions ofi‘epoi‘ting, curfew, visitation, work, etc.,
made less stringent under section 3624(c) or they could serve the last 10% oftheir sentence in
“lionie confinement" as per the statute Thiis, the mission ofthe statute is fulfilled and its terms

are iii no way rendered null and void
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last ten per cerit, or more than six months, of their remaining sentence). The Bureau of Prisons has always
interpreted sections 3621(b) and 3624(c) in tandem "as allowing it to designate inmates to community
corrections center confinement for more tlian the last ten per ceiit, or more than six months, of their
remaining sentence." Program Statement No. 7310.01 (emphasis supplied); see UniterlStates v. Morales-
Morales, 985 F. Supp. 229, 231 (D.Puerto Rico 1997) (emphasis supplied). ln light ofthe clear history of
section 3621(b), it is unreasonable to read section 3624(c) -- which governs pre-release CCC placement -- as
restricting the authority of the BOP to utilize the community corrections component of a CCC for initial
designations
E. Policv Considerations
There are also important policies which serve the BOP, the community and individual
prisoiiers’ needs which will be foresworn entirely ifthe BOP is permitted to interpret section 3621(b) in this
erroneous nianner. Fir'St, a host of programs have sprung tip and have flourished over the years in direct
response to the BOP’s desire to place individuals into these CCCs or “correctional facilities.” See Program
Statement 7310.04(12/16/98), ExhibitD(BOP states it has CCCs designed for inmate placement “throughout
the United States”). On a nationwide basis, there are innumerable halfway lioirse facilities, work programs,
and ofcourse, the MINT ( l\/l others & lnfants Togetlier) program, which presumably is not exempted from the
new “procedure change” ln the San Diego area alone, the halfway house facilities are numerous and there
is even a specialized work program, the Urban Work Cadre and the Pacific Furlough Facility. All of these
will have to be disbanded ifthe BOP cannot fully utilize them.14
F. The BOP’s l\lew “Proccdure Change” Violates the APA.
Congress clearly intended that the protections of tlie section 553 of the Administrative Procedure Act

(“APA") apply to the rule-making authority ofthe BOP. See 18 U.S.C. § 3625 (delineating sections 554, 555

 

"` The undersigned believes that the Urban Work Cadre program is currently being

dismantled as a direct result ofthe BOP’s “new" inteipretation ofsection 362l(b).
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and 701 of the APA as inapplicable to “the making of any determination, decision or order under this
subchapter").15 Title 5, section 553 requires that the BOP provide at least 30 days for notice and comment
before putting this “procedure change” into effect. 5 U.S.C. §§ 553(b) & (c). The BOP failed to comply with
this statutel This “procedure change” went into effect on Deceinber 20, 2002 and redesignations had already
occurred before that date. Thus, the BOP also violated 5 U.S.C. § 553(d), which provides that the publication
for notice and comment purposes to occur "not less than 30 days before the [substantive rule’s] effective date.
5 U.S.C, § 553(d). No statutory exception exists to excuse the BOP’s failure to comply with the statute’S
notice and comment and delayed effective date requirements l\/ls. Benton has been adversely effected by the
unlawful implementation of this “procedure change.”

The BOP cannot avoid the strictures of the APA by claiming that this “procedure change” is some sort
of“inteipretive i‘ule.”"’See, e.g., Pi'ckus v. Uniter!.$`mtes Bti'. ofParoi'e, 507 F.2d 1 107, 11 12 (D.C.Cir.l974)
(The label an agency attaches to its pronouncement is clearly not dispositive); Prows v. Department of
Jtisti`ce, 704 F.Supp. 272, 274 (D.D.C.1988), affd 011 OI/iergroiincfs, 938 F.2d 274 (D.C.Cir.l99l) (same).

The APA defines a "rule“ as "the whole or part of an agency statement of general or particular
applicability and future effect designed to implement, interpret, or prescribe law or policy . . . " 5 U.S.C.

§ 551(4). Rule-niaking is defined as the "agency process for formulating amending, or repealing a rule .
. . " 5 U.S.C. § 551(5). Thus defined, this “procedure change” is a clear example of agency rule-making

lis scope affects notjust one prisoner, but all prisoners lt does not involve the application of a regulation

 

'5 Ai'guably, the entire APA applies to the rule-making authority ofthe BOP, see S. Rep.
No. 98-225 at 149 n. 363 (1984), reprinted in U.S.C.C.A.N. 3182, 3332 ("The APA continues to
apply to the rule-making authority ofthe Bureau of Prisons”), and it is only the individual
determinations which are not subject to the APA. See id.

'(’ 5 U.S.C. § 553(b)(3)(A) (Legislative rules must undergo notice and comment

procedures; interpretive rules need not).
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to a particular set of facts, but, rather, seeks to establish guidelines applicable to a wide range of situations
Accordingly, the APA applies here.

Because this new change imposed new restrictions upon inmates, seiitcncingjudgcs and the BOP
itself, it is a legislative rule subject to the notice and comment See Shalalci v. Guernsey Memorc'al Hosp.,
514 U.S. 87 (1995) (dicta stating that APA rule-making would be required ifa policy statement "adopted a
position inconsistent with any of the Secretary [of Health and Human Services'] existing regulations");
Frii`rfri.r Niii'si`iig Ctr., /iic. v. Ca/i`ftirio, 590 F.2d 1297, 1301 (4tli Cir.l979) ("The Secretary is not free to
promulgate regulations and then change their meaning by 'clarifications' or 'interpretations‘ issued without
formal notice and comment To do so would frustrate the policies of fair notice and comment in the
Adniinistrative Pi'ocedure Act.").

G. Pursuant To The Well-Settled Presumption Against Retroactivity, the Bureau of
Prisons Cannot Retroactivelv Applv a Revised Po|icv Coiitrarv to Settled Expectations.

The Supreme Court originally set out its prescription against ex post facto laws in Calder v.
Bii/i', 3 Dall. 386, 390 (1798), as directly adopted from the English common law. in Cai'a’er, Justice Chase
set out four categories of criminal laws that are barred by the ex post facto doctrine. The third of these
categories were "evei‘y law that changes the punishment, and inflicts a greater punishment, than the law
annexed to the crime, when conimitted." [d.

ln the wake of Cai’ci’er, the Supreme Court consistently has embraced this ru|e, finding that a
primary function ofthe Ex Post Facto Clause ofthe Constitution "is to bar enactments which by retroactive
operation, increase the punishment for a crime after its commission." Gcirner v. Joiies, 529 U.S. 244 (2000).
See also Coh'r`iis v. Yoiirighiooci', 497 U.S.37,42(1990)(citing15’eazel[v. Ohi`o, 269 U.S. 167, 169-70(1925)).
Instructively, thc Supreme Court has addressed this issue in the context of changed laws affecting an inmates's
opportunity to be granted parole, and has found on a few occasions that such changes violated the Ex Post

Facto Clatise. See Lyiice v. Mathi`s, 519 U.S 433, 445-46 (1997) (citations omitted).

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ln Feniier v. Uiii`ten' States Pcirole Comm'ri, 251 F.3d 782 (9th Cir. 2001 ), the court agreed With the
reasoning ofthe Eleventli Circuit, quoting: "[a]s a general rule, '[i]n determining the terms ofa sentence, it
is the intent ofthe sentencing judge which controls and that intent is to be determined by reference to the
entire record."' i'ri'. at 786 (quoting Urii`tedStntes v. Brili', 214 F.3d 1275, 1279 (1 lth Cir. 2000) (other citations
omitted)). Additionally, the Feriner Court found that where there is ambiguity in the nature of the sentence,
"[t]he intent of the sentencing court must guide any retrospective inquiry." Id. (quoting Um‘ted States v.
Tay[or, 47 U.S. F.3d 508, 511 (2d Cir. 1995) (internal quotation marks omitted.); see also Johnson v.
Wi`/li'forr!, 682 F.2d 868, 871 (9"1 Cir. 1982) (applying principles ofequitable estoppel against government to
preclude retroactive denial of parole to previously deemed eligible inmate).

Notwithstanding any constitutional issue, courts have refused to apply new departures in statutory
construction which overturn longstanding interpretations upon which settled expectations have developed,
retroactively ln Coi‘t v. Crabtree, 113 F.3d 1081 (9th Cir. 1997), and Boweri v. Hood, 202 F.3d 1211 (9th
Cir. 2000), the N inth Circuit rejected the BOP's retroactive application of regulations and program statements
Cort dealt with a situation strikingly similar to Ms. Benton's. There, the BOP changed its interpretation of
"nonviolent offense" for the purposes ofdetermining whether inmates who were either enrolled in or had
completed the BOP's drug treatment program were eligible for early release ln Corl, the BOP did not issue
a new regulation pertaining to the definition of "nonviolent offense." Rather, the BOP altered its
interpretation and attempted to apply its new inteipretation retroactively, thus denying certain inmates the
benefit of early release despite the fact that they had been previously screened and informed that they were
eligible for early release after completing the drug program The Ninth Circuit held that the BOP had erred
in applying this new definition retroactivelyl Citing Supreme Court case 1aw, the Corr Court emphasized the

"important presumption against retroactivity," finding that the presumption is “deeply rooted in our

 

jurispi'udence" and "enibodies a legal doctrine centuries older than our Republic." Cort, 113 F.3d at 1084

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(quoting Langrafv. USir Fi`liii Products, 511 U.S. 244, 265 (1994)} (internal quotation marks omitted). In
finding that the BOP could not apply this new dennition to inmates who had the expectation to be granted
early release due to theirparticipation in the treatment program, Cort pointed out that “even where the Ex Post
Facto Clause is not formally applicable, 'prospectivity remains the appropriate default rule."' ld. (quoting
Langi'af, 511 U.S. at 272)', see also Bowen 202 F.3d at 1220-21 (disallowing BOP to deny benefits
retroactively: "[a]n agency cannot provide participants with a determination of eligibility based on the
purported examination ofobjective criteria, then subsequently deny them eligibility by exercise of whim." Ia'.
at 1220-21.'7
V. REQUESTED RELIEF

For the reasons stated above, a writ ofhabeas corpus should issue invalidating the BOP’S new
inteipretation of 18 U.S.C. § 3621(b), enjoining the BOP from requiring l\/is. Benton to serve her sentence at
FCl, Victorville rather than the CCC altemative recommended by the sentencing court. Alternatively, she
Seeks a resentencing where the objectives of the sentencing judge can be achieved and she can receive a
sentence which permits her to serve the five months at a CCC, as was permissible under the Sentencing
Guidelines and the BOP’s interpretation of section 3621(b) and for such other and further relief as this Court

may deem just and proper.

- - t tfully submitted,

§'Helt;syt<ti. CHARLICK
Federa Defenders of San Diego, lnc.

Attorneys for Petitioner Deborah Benton

  

Dated: February 7, 2003

 

 

 

17 As noted in our accompanying petition for a preliminary injunction seeking to enjoin
the BOP from requiring that Ms. Bentoii serve her sentence at a penal facility as opposed to a

 

CCC, several other courts, including the Ninth Circuit, have either stayed the transfers of
prisoners or extended self-surrender dates of other individuals pending determination ofthe
legality ofthe BOP’s actions. See, Preliminary lnjunctioii Application at p. 4.

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Case 3:03-cv-OO270-BT|\/|-POR Document2 Filed 02/07/03 Page|D.36 Page 27 of 113

EXHIBIT “A ”

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UNITED STATES OF AMERICA
v.

DEBORAH E. BENTON (1) 02CR2229-BTM

l C - se Number:

SHEREEN CHARLICK. FED DEF INC.
Defendant's Attnmey s

nccisrnA'rioN No. 00972-068

THE DEFENDANT:
X pleaded guilty to count(s} ONE OF TI-IE INDICTMENT.

|:] was found guilty on count(s)
afier ii plea of not guilty.

Accordingly, the defendant is adjudged guilty of such couut(s), which involve the following offense(s):

 

 

Count
Iitle&_&estlon Natu:enLQfIcuse Numtiei:[s,t
18 USC 1341 & 18 USC 2 MAIL FRAUD AND AIDING AND ABE'ITING 1
The defendant is sentenced as provided in pages 2 through 5 of this judgment The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
Cl The defendant has been found not guilty on count(s)
E| Count(s) Cl is El are dismissed on the motion of the United Siaies.

 

X Asscssment:Pursuant to 18 USC 3013 an assessment is hereby levied in the amount of
$J_Q_Q__Q_Q which shall be due within the first year of supervised release.

X Fine ordered waived.

_ IT lS O_RDERED that the defendant sh_atl lnotify the United States attorney for this district within 30 days ofan change of name
residence, or mailin[gl address until all fines, restitution, costs an_d s ctal assessments imposed by this judgment are ful y id. lfordere_
io_ pay restitution, e defendant shall notify the court and llnitc States attorney of any material change in the defen ant‘s economic

C l.IC\lmeBRC¢S.

DECEMB ER 23. 2002
Date of lmposition of Sentcnce

 

"BARRY TED MOSKOWI'I`Z
UNITED STATES DlSTRICT IUDGE

Entcred Date: l ""‘Z'OS

02CR2229 ‘

 

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Shch 2 - lmprisonment

 

 

Judgrncnt - Page 2 of 5
DEFENDAN'I`: DEBORAH E. BENTON
CASE NUMB ER: 02CR2229-BTM
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be` imprisoned for a term of
F[VE {5) MONTHS.

 

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curran srAri~;s Disi'iucr moon

X The court makes the following recommendations to the Bureau of Prisons:
THAT THE DEFENDANT PARTIC[PATE IN URBAN WORK CAMP.

El The defendant is remanded to the custody of the United States Marshal.

El The defendant shall surrender to the United States Marshal for this district

 

113 at L'.l a.m. 13 p.m. on
El as notified by the United States Marshal.

 

X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
X by 12:00 noon on February 21, 2003 or this court by 2:00 p.m.
13 as notified by the United States Marshal.
El as'notit'ied by the Probation or Pretn'al Services Off'tce.

 

 

 

 

RETUR.N
1 have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment
uNiTEo srAT£s MaasHAi_
Br

 

DEFUTY UNlTED STATES MARSHAL

02CR2229

 

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Sheet 3 -- Supervised Relcasc

Judgment_l’agc 3 of 5

 

DEFENDANT: DEBORAH E. BENTON
CASE NUMBER: 02CR2229-BTM »
SUPERVTSED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three (3) ‘{EARS.

MANDATORY CONDITIONS

The defendant shall report _to the probation office in tire district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons unless returned to Mexrco.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance

For offenses committed on or after Septem bar !3. 1994:

The defendant shalll refrain from any unlawful use of a_cor_itrolled substance. The defendant shall submit to one drug t_est within
415 days of release from imprisonment and at least two penodrc drug tests thereafter, unless defendant rs returned to Mexrco.

{:] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse.
The defendant shall not possess a firearrn, destructive device, or any other dangerous weapon.

lf' this judgment_imposes a fine or a restitution obligation, it shall be a condition of supervised release_that the defendant pay
an such line or restitution that remains unpaid at the connnencement of the term of supervised release rn accordance with the

Sc edule of Payments set forth in this judgment

'l`ne defendant shall comply with the standard conditions that have been adopted by this court . The defendant shall also comply
with any special conditions imposed.

STANDARD CONDITIONS OF SUPERVISION

l ) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
days of each monih;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities',

S) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted
of a felony, unless granted permission to do so by e probation ofticer;

lO) the defendant shall permit a robati_on officer to visit him or her at any time at horne or elsewhere and shall permit confiscation
of any contraband observe in plain view of the probation officer;

l 1) tht_?_ defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
o icei';

12) tire defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court;

13) as_directed by the probation oi_`ficer, the defendant shall notify third parties of risks that may be occasioned by the defendant‘s
criminal record or rsonal history or characteristics and shall permit the probation officer to make such notifications and to
confirm the defen ant‘s complrance with such notification requirement

02CR2229

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Sheet 3 -- Continued 2 _ Supervised Release
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DEFENDANT: DEBORAH E. BENTON
CASE NUMBER: 020R2229-BTM
SPECIAL CONDITIONS OF SUPERVISION

_ZL Submit to a search of person property, residence, abode or vehicle, at a reasonable time and in a reasonable
manner, by the probation ofticer.

X_ Not possess firearms, explosive devices, or other dangerous weapons

_X_ Not possess any narcotic drug or controlled substance without a lawful medical prescription

_X_ Malce restitution to Hi hMark.Blue Cross-Blue Shield in the amount of $3 1,312.50, to be paid in installments of
3100.00 per month, su ect to increase or decrease on chan c ofcircumstances. The defendant shall provide a

promisso note to Hig _Mark Blue_ Cross-Blue Shie_ld for e balance due 60 days prior to termination of
supervise release. Restitution is _|oint and several with Dr. Lloyd Henry Bell.

_X_ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

.X_ Ee prohibited from opening checking accounts or incurring new credit charges or
opening additional lines of credit without approval of t e Probatiori Officer.

_lL Provide complete disclosure of al l personal and business financial
records to the probation officer when requested.

___ Partici ate in a program of mental health treatment as directed by th_e probation ofhcer, takc_all medications as
prescri_ ed by a psychiatrist/physician and not discontinue any medications without permission The Court
authorizes the release of the pre-sentence report and available psychological evaluations to the mental health
provider, as approved by the probation officer. The defendant shall consent to the release of evaluations and
treatment information to the probation officer and the Court by the mental health provider.

_X_ Rernai.n in your place of residence for a period _ot` 150 days, except while working at verifiable employment1
attending religious services or undergoing medical treatment or performing community service.

_ Not associate with known alien smugglers
_ Not associate with known drug traffickers or users.
__ Not enter the Republic of Mexico without the written permission of the probation officer.

_IL Maintai'n full-time employment or education or a combination of both.

02CR2229

Case 3:03-cV-0027O-BT|\/|-POR Document 2 §%%M?/UPA%%Q€|?A&F E>iage 32 of 113

DEFENDANT: DEBORAH E.BENTON
CASE NUMBER: 02CR2229-B’I'M

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Make restitution to High Mark Blue Cross-Blue Shiel_d in the amount of$31,312.50, to be pai_d in installments of$lOO.OOIper
month, subject to increase_or decrease on chan c of circumstances The defendant shall_provide a promissory note to Hig
Mark Blue Cross-Blue ShieId for the balance ue 60 days prior to termination of supervised release Resiitution is jointly and
severally with Dr. Lloyd Henry Bell.

02CR2229

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lthshi'ngmn. D(`.` 20534

January 24, 2003

Mark R. Rehe

Assistant United States Attorney
Southern District of California
Federal Office Building

380 Front Street, Room 6293

San Diego, CA 92101-8893

Re: Jay Woodrow Thorn, Register Number 82365-198
Dear Mr. Rehe:

The Bureau of Prisons (BOP) originally designated JaY
woodrow Thorn, Register Number 82365-198, to the Pacific Furlough
community corrections center in San Diego, California. Mr. Thorn
was recently notified that he was going to be re-designated to
the Metropolitan Correctional Center (MCC) in San Diego,
California.` The Department of Justice has reconsidered the facts
and circumstances surrounding Mr. Thorn's re-designation.
Consequently, he will not be transferred to MCC San Diego. Mr.
Thorn will complete his sentence at the halfway house where he is
currently confined.

Sincerely,

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Kathleen M. Kenney
Deputy General Counsel

cc: Shereen J. Charlick, Esquire
Robert Haro, Regional Director

Case 3:03-cV-0027O-BT|\/|-POR DocumentZ Filed 02/07/03 Page|D.43 Page 34 of 113

EXHIBIT “B”

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= U.S. Department ofJustice

  

Federal Bureau of Prisons

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The Honorable Manuel L. Real
United States District Judge
United States District Court for the ___
Southern District of California

940 Front Street

San Diego, CA 92101

Re: Jay Woodrow Thorn
Court Dooket Numbar 02CR0729-MLR

Dear Judge Real:

This letter informs you of a recent Bureau of Prisons' (Bureau)
procedure change which impacts Mr. Thorn (Register Number 82365-
198), who was sentenced by your court.

The Bureau has had a practice of honoring some judicial
'recommendations to place inmates in community correction centers
(CCC) for the imprisonment portions of their sentences. Effective
immediately, however, this practice will no longer be followed. The
Bureau will not use CCCs as a substitute for imprisonment.

This procedure change follows recent guidance from the U.S.
Department of Justice’s Office of Legal Counsel (OLC), finding that
the term “community confinement” is not synonymous with
“imprisonment.” OLC has determined that the Bureau's practice of
using CCCs as a substitute for imprisonment contravenes well-
established caselaw, and is inconsistent with U.S.S.G. § 5Cl.l.

This procedure change will be implemented prospectively; with the
following exception. Inmates directly designated to CCCs who, as
of December 16, 2002, had more than 150 days remaining to serve on
their prison terms, will be re-designated by the Bureau to prison
institutions. Because Mr. Thorn falls into this group, he will be
re-designated to a prison institution within the next 30 days in
compliance with the procedure change. Mr. Thorn will then be
reviewed for CCC placement pursuant to the Bureau's limited pre-

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For further information or discussion of this situation, please
call me directly at (602) 379-4947 or Mr. Harlan Penn, Regional
Counsel at (925) 803-4700.

Sincerely,

/9/3/

Leonard J. Lipsutz
Community Corrections Manager

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U..S I)cpartment of Justiee

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December 20, 2002

NBMORANDUM FOR FEDERAL JUDGES

mississippi

yadmz ' thleen Hawk Sawyer
Director
SUBJECT: Community Contincmen: Prcccdurc Chnnge

This memorandum informs you that thc Bureau of ?riscns
tsureaui is implementing a significant procedure change regarding
inmate designations to community correction centers iCCCl ialso
known as "haltway-houses"}. The Bureau hac had a practice ct
honoring some judicial recommendations :o place inmates in CCCs
or :he imprisonmen: portions cf their sentences. Bffective
mmediately, this practice will no longer be followed. The Bureau
will not use CCCs as a substitute for imprisonment.

b- FTi

This procedure change follows recent guidance from the U.S.
Department of Justice's O££ice of Legal Counsel {OLCE, finding
that the term “community confinement" is not synonymous with
“imprisonment.” OLC has determined tha: the Bureau's practice of
using CCCs as a substitute for im risonment contravenes well-
cstoblishcd cusclnw, and is inconsistent with U.S.$.G. § SCE.Z.

This procedure change will be implemented prospectively,
with the following exception. Inuwtes designated to CCCs whu, as
of December 16, 2502, had more than 150 days remaining to serve
on their prison terms, will be re-dosignated by the Bureau to
prison institutions.

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U.S. Departm entof_lustice

FederalBureau ofPrisons

 

Wasi ingt)n, D.C. 20534
December 20, 2002

MEMORANDUM FOR CHIEF EXECUTIVE OFFICERS

/S/
FROM: Michael B. Cooksey, Assistant Director
Correctional Programs Division

/S/
Christopher Erlewine
Assistant Director/General Counsel

SUBJECT: Community Confinement Procedure Changes

This memorandum informs you of procedure changes related to
the Bureau's designation of inmates to community correction
centers (CCC) to serve terms of imprisonment. These procedure
changes are the result of a recent legal opinion issued by the
U.S. Department of Justice, Office of Legal Counsel (OLC), which
analyzes the Bureau’s statutory authority to designate inmates to
CCCs as more limited than we have previously practiced. A copy
of the OLC opinion is included with this memorandum.

This memorandum should be distributed to all staff who are
affected by the procedure changes.

For further implementation assistance, please contact Stew
Rowles, Community Corrections Administratorl at
or J.Paul Horner, Administrator, Correctional Programs Branch,
For staff legal assistance, please contact your
Regional Counsel. Advise inmates wishing to challenge any aspect
cf this revised procedure to do so through the Bureau's
administrative remedy program.

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Case 3:03-cV-0027O-BT|\/|-POR DocumentZ Filed 02/07/03 Page|D.48 Page 39 of 113

THE BUREAU'S CCC DESIGNATION AUTHORITY DEFINED

Effective immediately, the Bureau's CCC designation
authority is defined as follows:

(1) The Bureau will no longer accommodate judicial
recommendations for direct CCC placement of inmates
sentenced to terms of imprisonment (hereinafter
referred to as “direct-court placement inmates"l.
Rather, all inmates serving terms of imprisonment must
be designated by the Bureau to prison or jail
facilities. This prohibition applies to all U.S. Code
and D.C. Code offenders whose prison sentences are
administered by the Bureau; and

(2) Pre-release programming CCC designations are limited in
duration to the last 10% of the prison sentence, not to
exceed six months. This limitation, and the following
two exceptions, apply to all U.S. Code and D.C. Code
offenders whose prison sentences are administered by
the Bureau:

a Inmates completing the Residential Drug Abuse
Program (RDAP) may exceed the 10% limitationl but
are still limited to a maximum six-months pre~
release CCC designation; and

- Inmates completing an Intensive Confinement Center
(ICC) program may exceed both the 10% and six-
months limitations, at this time. The OLC
opinion's impact On this issue is still being
reviewed, and further guidance will be
forthcoming.

IMPLEMENTATION PROCEDURES

There are three phases to implementing these procedure
changes. First, some direct-court placement inmates must be
promptly re-designated to prison or jail facilities depending on
the amount of time left to serve On their prison terms. Second,
future pre-release CCC designation cases must be immediately
reviewed to ensure compliance with this revised procedure before
the inmates depart their parent institution. Third, female
inmates participating in the Mothers and lnfants Nurturing
Together (MINT) program will be authorized by furloughs rather
than CCC designations.

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Re-Designation of Direct-Court Placement Inmates.

Direct-court placement inmates who, as of December 16, 2002,
had more than 150 days left to serve on their prison sentences,
must be re-designated to prison or jail facilities. This
calculation results in a date of May 15, 2003. Accordingly,
direct-court placement inmates who, as of December 16, 2002, had
a projected release date of May 15, 2003, or later, must be re-
designated to prison or jail facilities. f

Rosters identifying these inmates are attached. However,
each community corrections office (CCO) needs to thoroughly
review the direct-court placement inmate population to ensure
compliance with this directive. CCO staff will need to closely
review each identified case to ensure that the individual inmate
is actually residing in a CCC, rather than a prison or jail
facility, and if so, to determine the appropriate transfer method
to the re-designated facility. CCCs should work closely with
Regional Designators to secure placement at the nearest
appropriate facility.

Also, when re-designating direct-court placement inmates to
prison Or jail facilities:

(l) Notify the sentencing judge of the inmate’s re-
designation. A sample letter for your use is included
with this memorandum; and

(2) Provide the inmate written notice of the re-designation
at least 30 days prior to being transferred. A sample
memorandum for your use is included with this
memorandum. At least 30 days must pass between the
date the inmate receives the written notice, and the
actual transfer.

Pre-Release CCC Inmates.

The individual cases of all inmates being considered for
pre-release CCC placement must be immediately reviewed for
compliance with this revised procedure. Inmates who, at the time
of record review by Bureau staff pursuant to this memorandum,
have not yet departed their parent institutions en route to the
CCC, must have their pre-release CCC designation plan adjusted
accordingly to comply with this revised procedure, i.e., limited
in duration to the last 10% of the prison sentence, not to exceed
six months. '

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§§ U.S. Departtnent o!.l'usticc
- . ' ' Ofl`tcc ol` chal Counsc|
Ot‘."t:¢ ol`m¢ l‘nncrpal Deputy Auistant Attom:y Genenl H'a.rhrrrgrorr_ u_{.° 20530
Deccrnber 13, 2002

ME.\IORANDUM l-`OR LARRY D. THD.-\IPSON
DF.`PUTY AT'I`ORN£`Y GENERAL '

Re.' Bureau ofPrisons practice of placing r'n community confinement
certain oj'r:nder.r who have received sentences of imprisonment

Your offth has informed us that when a federal offender whom the Bureau ofPrisons
("BOP") deems to be low-risk and nonviolent receives a short sentence ol` imprisonment BOP
often places that offender in a community corrections centcr, halfway housc, or other form of
"comnrunity eeniinement," rather than in prison. Your u£l‘rcu has asked us to advise you whether
BOP has general authority, either upon the recommendation of the sentencing judge or otherwise
to place such an offender directly in community confinement at the outset of his sentence otto
transfer him from prison to community confinement during the course of his sentence.

7 Wc conclude below that BOP has no such general authority. As we cxplaitr, BOP'$
statutory authority to implement sentences of intptisutuncnt must be constmed, wherever
possible, to comport with the legal requirements that govcm the federal eourts’ sentencing
orders. Cnmmunr'ty confinement does nut constitute imprisonment for purposes of a sentencing
oriler, and BOP lacks clear general statutory authority to place in community confinement an
offender who has been sentenced to a tenn ol` imprisonment BOP’s practice is therefore
unlawful

l.

Wc begin by examining whether federal courts have authority under the Sentencing
Guidelines to order that the types ofscntcnces at issue here be satisfied by community
confinement

A.

The authority to sentence federal offenders lo terms ol" imprisonment tests With the
federal coons under the provisions of the Fedcral Cn`min:tl Code and the Sentencing Guidelines
promulgated thereunder. See 18 U.S.C. §§ 3553, 3581-3582 (2000); li’t`!liams v. United States,
503 u.s. 193, 200-ot tzoaz). 'ttre sentencing Guideline: were promulgated by the U.S. `
Sentencing Commission pursuant to thc mandate ofthe Sentencing Rcl'orm Act of 1984, which

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sought to eliminate arbitrary discrepancies itt federal Sentencing.' Subjeet to the coun's authority
to depart from Guidcline sentencing ranges when certain criteria are sotisl'tcd, sec 18 U.S.C. §
3553(b), federal courts are bound by the provisions ol' lite Sentencing Guidelincs when they
impose sentences on federal olTendcrs. See Koon v. United Srutes, 518 U.S. 81. 92 (1996);
Stt`n.ron v. United .S`totes, 508 U.S. 36, 42 (1993).

The Sentencing Guideltnes contain base offense levels of increasing severity (frotn level
l to level 43), depending upon thc seriousness ofthe offense and the characteristics ofthe
offender with respect to specified criteria The sentencing ranges applicable to tltc respective
otTense levels are set forth in a Sentencing Table that is published with the Guidclines. The
Sentencing Tahle is divided into four different Zoncs, ranging from Zonc A (for the shortest
sr.:nlcnecs) to Zone D (for the most severe scntt:nces).

The BOP practice at issue here applies to Zortc C and Zone D sentences Zone C
encompasses base offense levels ll and 12 which, in the case of offenses falling into Criminal
History Categoryl (tht: most favorable criminal history eategoryl, establish sentencing ranges of
8 to 14 months rif imprisonment and 10 to 16 months ofimprisonmcnt. respectively Zotte D
dcmarcatcs permissible sentences for base offense levels 13 through 43 and, again assuming
Criminal History (`.ntcgoty l, provides fora sentencing range of 1210 18 months of imprisonment
t‘ot offense level 13, ano up to life imprisonment tor oll`ertse level 43.‘

For Zonc C` scntent:cs, section 5C1.l[d) of tltc Guidelincs provides that the minimum -
term may be satisfied either by a simple "sentencc ofimpn'sonmcnt," U.S. Sentencing Guidelincs
Manual § 5 C l .l(d)(l). or by a "scntencc of imprisonment that includes a term of supervised
release with a condition that substitth community confinement or lturtte detention," td.
§ 5Cl .l(tl)(Z). in thc latter case (sometimes referred to as a “split sentencc"). section $Cl.l(d]
requires "that at least one-half of the minimum term [bc] satisfied by itnprisoru'ncnt." !d. The
Gutctctinoe state that "communtty cotttinemcnt" "tneans residence in a community treatment
ecnter. halfway house, restitution eenter. mental health facility, alcohol or drug rehabilitation
eentcr. or other community facility; and participation in gaintitl cmptoyment, employment search `
efforts, community setvice, vocational training, treatment educational programs, or similar '
facility-approved programs during non-residential hours." !d. § SFl . l , Application Note l.

For lone D scntences, section 5C1.1 (l) requires that the minimum term be satisfied by a
simple sentence of imprisonman U.S.S.G. § $Cl.l(l).

 

' ser Pub. r.. .\‘o. 93-¢13. title tt. ctt. tr. § 217, sit sur tss?, 2017 (tssat, reprinted to 1984
u.s.c.c.n.t~t. tsar,zotr. .

z United States Sentencing Cotnrnissinn, Gm'd¢lr'rrr'.r Mortoe!, Sentencing Table (Nov. 2001).

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"n.

By its plain terms. section $Ci.l provides only limited authority to a federal court to
order that a Zone C sentence of imprisonment be satisfied by community confinement fn
partieul;tr, it provides only that a federal conti may impose a Zonc C split sentence under which
the sentence of imprisonment “includes a term of supervised release with a condition that
substitutes community confinement or home detention . . . , provided that at least one-half of the
minimum term is satisfied by imprisonmmt." US.S.G. § SC l.I(d)(?). t.Will't respect to chc C
or Zone D simple sentences of imprisonment section $Cl.t provides no authority to substitute -
community confinement for any portion of the sentence

Consistcnt with the plain meaning of section $Cl.l. thc federal courts ot'appals have
unifonnly determined that community confinement does not constitute "imprisonment" for
purposes of satisfying either the requirement under that section that ‘°at least one~»halfof the
minimum term lof a Zonc C split sentence} be satisfied by imprisonment“ or the requirement that
rt Zone C or Zone D simple sentence be a “scntenec of imprisonment." ln the words of the
Sccond Circuit, "“lmprisonrnent‘ and "comtnunity confinemcnt’ arc not synonyms.

_ ‘Imprisonment is the condition of being removed from the community and placed in prison,
whereas ‘cornmunity confinement‘ is the condition of being controlled and restricted within the

' t:untntunity."“f?itlred States v. Adier. 52 F.3d 20, 2| (Zd Cir. 1995]. The chenth Circuit has
likewise stated that section 5C1.1 “piainly draws a distinction between ‘imprisonmcnt° and either
community confinement or horne dctcntion" and that this distinction "is consistent with the plain
meaning of the term ’irnprisonment.’" r.£»rintted Slorer v. Swr`gerr, 18 F.3d 443, 445 ('l'th Cir.
1994). Sce also United States v. Voa'a, 994 F.2d 149, 152 (Sth Cir. 1993) (stating, in construing
Guidelines provision governing Zone B sentence of probation, that “a community corrections
facility is not ajail"); United States v. Lutr‘mer, 991 F.2d 1509. 1513 (9th Cir. i993) (stating, itt
construing Uuidelines provision governing criminal history, that "the division between
imprisonment and community treatment center confinement is emphasized again in §§Cl.l“)t’

in United States v. Serajinr'_ 233 F. 3d 758 (3t'd Cir. 2000], the Thit'd Circuil opined that
where the district court had imposed on the defendant n Zone C itt-month split scntencc.
consisting of five months of imprisonment and five months ofhousc arrcst, the district court
would violate the Guiticline.s ifil ordered that tile defendant S¢N¢ th Ii\'¢ months Of
imprisonment in community conlinemcnt. !d. at 762 n.2, 7?7-778. Dctermining that the district
court had merely recommended (rathcr than ordcrcd) community conlinement, the 'i`hird Circuit
stated that HOP would violate the Guidclinrs if it followed thc district coun's recommendation
Id. at 778. lt further emphasized that “a district court has no power to dictate or impose any

 

` ’ contrary to tanner ute newsom v. Ptd¢gn, us roe ros, rt rata tr nn ctr. tom nr`¢'st¢tr.
Ctteurt_m Uniteds`rorer v. Rmo, 953 F.2d 132 (dth Cir. 1992), ruhl tlut, for purposes ofthe Guidclins provision
‘ governing criminal history. detention in a hatfuy house cr emunity content center constitutes “bein¢

in‘amuate¢” The Sirtth Cimnt made ciesr. however. that its riding had no application to section SCI.I. Su td. ct
ilJ'l.

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place ot'ctmlinement l'or the imprisonment portion ol' the sentence." !d. at 778 n.23 (emphasis in
otigltral]. Similarty_ ute $ixth Circuit ruled that where the district court had sentenced a
defendant "to be imprisoned for a term of ten tttonths," the district court could not substitute
community confinement for imprisotunent. United.§`tare.r v_ Jnh‘h', 925 F.2d 889, 892-893 (Gth
Cir. 1991). Ls.nguage in the court ‘s order purporting to make this substitution was instead to be
“stn`eken from the order as mere surplusage.“ Id. at 893.‘

ln sum, it is clear that federal courts violate the Guidelines if they order that (l) an
offender sentenced to a Zonc C or lone D simple sentence ol` imprisonment serve his sentence in
community conlinement, or (2) that an offender sentenced to a Zonc C split sentence serve the
imprisonment portion ot’ his sentence in community conlinemcnl.

Havitrg determined that a federal court violates llrc Uutdclit'lcs ifil orders that a sentence
of imprisonment be satisfied by community conlint:mcnt, we now address whether BOP, either
orr its own initiative or in response to a federal court rceomrn endation. has general authority to
implement a Zone C or Zone D sentence ol` imprisonment by placing art offender in community
conlinement.

A.

The Sentencing Rcl'orm Act of 1984 not only authorized the Sentencing Guidelines; it
also rewrote the provisions governing BOP‘s implementation of sentences.’ Under section 362|
of title lS_ BOP is responsible for administering the sentences of`imprt`sonrnent that federal
courts impose orr federal offenders

(o) COMMITMIINT TO CUSTODY Ol'° BUR..EAU Ol" .l’.R-lSON$. - A
person who has been sentenced to a term of imprisonment pursuant to the pro-
visions of subchapter D of chapter 227 shall he committed to the custody ol' the
Bureau of l'n`sons until the expiration ol' the tenn imposed, or until earlier
released l'or satisfactory behavior pursuant to the provisions ol` section 3624.

(b) PLACE OF IMPRJSONMENT. - The Bureau of Ptisons shall
designate the place of the prisoner's imprisonment. The B_ureau may desig-

 

‘ The Sisllt Circuil did rule in United.$'ta!er v Srrarr'er, 940 F.2d 985 tolls Cir. 1991). t-lul. fm pman or
a Guidelloes provision requiring that x court "ordcr s term ol' supervised release to f allow imprisonment when t
sentence ulirrrprisonrneot elmore than one year is imposed,'° the period ol' community confinement should be
included in determining the length of the semenee ot` impnsonrrtent. Both the Sinth and Seventh Circuits have
dctemtl.r:ed. howcret. that that ruling on l sopante Guideltnes provision should not guide the meaning ol' section
SCl.l. See Ruu'o, 963 FJ¢l al U?;S\vr'grd. ls F.]d ll 446.

’ sn- run. t.. No. grain true tt. ch. n, §§ 212,21?.95 sm. t'tm. tstr, zoor. 2011 trust

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note any available penal or correctional'l`acility that meets the minimum
standards o|' health and habitability established by thc Bureau, whether
maintained by the chcral Govcrttmcnt or otherwise and whether within
or without the judicial district in which thc person was convicted, that
the Bureau determines to bc appropriate and sultahle, considering -

(t ) the resources of the facility contemplated;

(2) thc nature and circumstances ofthe nt`t`cnse:

(3) the history and characteristics of tht: prisoncr;

(4) any statement made by the court that imposed the sentence -

[A) concerning the purposes for which the sentence to imprisonment was
determined to he warranted; or

{B) recommending a type of penal or correctional facility as appropriate; and

(5) any pertinent policy atatr:rrtcrtt. issued by tltt.'. St.’nlt.’-n£ll'tg Con‘lmlS$lOt't Ptll'Sl|a.nl
to section 994(.':)(2) of title 28.

18 U.S.C. § 362[ (2000). ln addition, section 3622 authorizes BOP to "rclcase a prisoner from
the place of his imprisonment for a limited pcn`od" under specified conditions for purposes that
include employment, training, and cducation. !d, § 3622. Scction 3624(c) timber provides that
BOP "shatl, to the extent practicablc, assure that a prisoner serving a temr of imprisonment
spends a reasonable pon, not to exceed six months, ofthe last 10 per centum of thc tenn to be
served under conditions that witt attord the prisoner a reasonable opportunity to adjust to and
prepare for the prisoner's re-cntr)' into thc contrnunity." lS U.S.C. § 3624(c) (2000). It also
specifics that °‘home'confincmcnt" may be used for this purpose See id.

nl
Both BOP's authority under title 18 to implement sentences of imprisonment and the

federal couns‘ sentencing authority under the Guidetincs were conferred by the Sentencing
Re_!onn Act of 1984. tt is therefore especially appropriate that they be construed to produce a

harmonious interpretation See, e.g., cho v. Koray. 515 U.S. SO. 56-57 (1995).£Beeause BOP is"

increr administering the sentences ot' imprisonment that the federal courts impooo pursuont'to
the Guidelines, we believe that BOI”s authority must be construed, wherever possible, to
comport with the legal requirements that govern the sentencing orders Constnring BOP’s
outhort'tya'n this way `witt also promote Congress’s objective of eliminating arbitrary disparities in
punishment between offenders convicted of thc same offense. See supra pp. l~Z & n-l-

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We recognize that there arc certain provisions governing BOP's implementation of
sentences of imprisonment that clearly authorize a sentence to be implemented other than
according to its seemingly plain tcrms. ln such cases,' the rule of construction described above
does not come into play because there is no conflict to be resulved. Rather. a harmonious
interpretation is achieved in such cases by understanding the sentence to be read in light o[. and
therefore to incorporate implicitly, the clear statutory provision. For exam plc, section 3621(a)
spccitics that an offender “who has been sentenced to a term of imprisonment . . . shall bc
committed to the custody of the Bureau ot' Prisons until the expiration ol' the term imposed. or
until earlier refeascdj)r satisfactory behavior pursuant to tire provisions of section 3624,“ 18
U.S.C. § 3621(a) (emphasis added). Scction 3624(c) in tum provides that a "prisoner shall be
released by the Bureau ofPrisons on the date of the expiration ot` the prisoner's term ol`
imprisonment, less any time credited toward rite service ofthe prisoner fr rentence" fur
satisfactory behavior. r'd. § 3624(c) (emphasis added). tn light of this clear statutory eommand,
we have no doubt that a sentence imposed under the Sentencing Guidelincs must be read as being
subject to the command Thus. where a prisoner serving a three-year sentence of imprisonment
has received ten days' credit for satisfactory behavior, BOP, in administering the sentenee, must
release thc offender ten days before the three-year period runs.

The question for us hcre. then. is whether BOP has clearly been given statutory authority
to implement Zone C or Z.one D simple sentences ol'tmpn'sonntent. or to implement the
imprisonment portion of a Z.one C split scntence. by placingl an offender in community
confinement BOP has pointed to sections 362 l (b) and 3622 as possible sources ofautttority.
We address these in tum.

Nothin¢.; in section 362l(b) provides BOl" clear authority tu place in community
confinement an ot'r'ender who has been sentenced to a term ot` imprisonment lt is true that
section 362 l(b) gives BOP broad discretion to designate as "the place ot' the prisoner's
imprisotunent" “any available penal or correctional facility that meets minimum standards of
health end habitability. . . [and] that [BOP] determines to be appropriate and suitablc.'° But the _
authority to select the place ofirnprisonmcnt is not the same as the authority to decide whether t
the offender will be imprisoned Under the statutory $cht:mc. the latter authority lies solely with `
the court (suhject to the requirements imposed by the Sentencing Guidclincs), and section
3621(‘¢») does not authorize BOP to subvert that statutory scheme by placing in community
continemcnt an offender who has received a sentence ofimprisortment. Thus. even it` we were to
conclude that a community corrections center or halfway house could qualify as "the place ot`the
prisoner's tmpr'isomtrent“ for purposes of this section, we would not read this general conferral ol'
authorityas speaking at all to »- much less clearly trumping - the requirement under the
Guidcllncs that Commtlt'tt'ty Cnnfinement not be used to catisl`yn Zone C or Zonc D simple
sentence of imprisonment or the imprisonment portion ol' a Zonc C split sentence Moreov¢r. if '
section 3621(b) were read to confer on BOI’ unfettered discretion to have offenders serve
sentences of imprisonment in conunu.nity confinement, then the time limitation in section
3624(c) on BOP authority to transfer a prisoner to a non-prison site - i.e.. for a period, not to

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exceed six months, ofthe last 10% of the tenn lol’ his sentence »~ would be rendered null with
respect to community confinement.°

ln siltlition, consistent with the federal coons of appeals' reading of section SC l .l, see
supra p. 3, we do riot believe that a community corrections center or halfway house is ii "ptaee of
. . . imprisonment" within the ordinary meaning of that plir:rsc. As we understand it. residents ol'
n conniiuniry corrections center or halfway housc, although still in federal eustody, are generally
not confined to the facility throughout the day but are instead able to pursue outside' emplo)mmt,
trainittg. and et:itlt:tlliott.7 lndt:t.‘d. as we understand BOP's policy statement orr community ‘
corrections centers (“CCCs"). inmates placed in CCCs nunnally become eligible for weekend
and evening leave passes after the second week ot’conf'inr:mi:nt. BOP PS 7310.04. Coittmt.tnity
Conceiinns Center (CCC) Utilii:atioii and ‘I'ra.nst'er Proeodtire. 1 7.3(1)-(2) (Dcc. 16, 1993],
available arhttp:l!it'ww.bop.gov!progstat.’7310_04.hunl. Reading section 3621(b) :is a whole.
thereforel we understand the discretion alTorded to BO}’. under the second sentenee, to
“design:ite any available penal or correctional facility that meets minimum standards of health
and liabitability . . . [and] that [BDP] determines to be appropriate and siiitablc" to be constrained
by the requirement in the l'irer sentence tliat such facility lie a place ul’irnprisorunenl.‘

Wc acknowledge that section 3621{1))(4)(3) provides specifically that BOP may eonsidcr.
in determining which penal or correctional tacitin to designate a judicial statement

 

‘ ‘r‘oor ott°iee has advised us tliat BOP. in exercising its authority under section 3624(e), has sometimes not
abided by the time limitation set forth itt tliat section. The authority ctir. cited under section 1574(¢-)1<\ transfer a
prisoner in a iron-prison site is elculylirnited to a period ‘°not to exceed six months, ot’ the last 10 per centum ofthe
tenn to he serwd," 18 U.S.C. § 3624, and we see no basis I`or disregarding this time limitation

’ sc¢-, ¢.;._ mirror v sanction Anny. al F.3d 678, 663 (7th Cir. 1995) tdcscn'tilr.g freedom ot’ residents of
halfway trouse); l.'ni'ted Stare.r v. Ci.ovrz, 204 F.3d 130$, 1315 (l|t.ii Cir. ZODD) (“We have previously held that
confinement to a lnltway house at night with the requirement that a defendant work ar ajob or seek emptoymot
during the day is ti liberty 'morlct:d|y different from L'\lilodill lnca¢€titllol't in l peniteltlilry."' (citing Daw.tat'l \r.
Seatt'_ 50 F.3d 884, 583 fl l“ Cir. 1995]]: United States vi Dt'gltero, 185 F.3d 875 (Table), 1999 WL 390870. ll °2
(lotli Cir. lone t$. 1999) ("We have previously distinguished sentences involving physical eonl"u\enieot, such ns
incarceration at a prison ean-p, from non-secured moody such n placement at :t halfway trouse."); Ri'cbordran v.
.t‘rej.-, 105 F.3d 669 (Table), 1997 WL 10954. at ‘i t |OI.h Cir. lan. 14, 1997) [“u.~ider the community corrections
program [plzinti'fl] nos able to work in the Dcover community at good johs, tnt-cl about the continually
unesconed. md maintain business and social conveu").

' Wc assume arguendo that a continually corrections center, halfway house, or other form of corruritmity
continen'iem may constitute a “pennl or correctional facility' under the provisions of 15 U.S.C. § 362[(!:]. We oote,
howevcr, that that term is not defmod. lo l 1992 opinion iri which we concluded that BOP has authority under
section 3621 to connect with the private sector for the operation of secure facilitiex. we declined to draws
distinction between residential community facilities unit secure facilities with respect iu BOP's contracting-out
authority See Storurory xiiith to Coniraer m'o'i the Prnnie .t‘¢eror for S¢eure Facr!i`rr'¢.r. 16 Op. O.L.C. 65. 70'
?\ tl?$l). That opinion however_ did not address the distinct question whether a coiiuniuti‘ty corrections center
constitutes a “pl:t'e ol'iriiprir~on.'ttcnt" under section 3621. nor did ii have occasion to consider the line of uses

- dt-'»¢\l”¢d in Flll LB. I”Pr¢. holding that continually confinement does not constitute iriiprisonrncnt.

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"reeommcnding a type of penal or correctional facility as appropriatc." But any contention that
this provision clearly indicates that BOI’ has authority to have an offender serve a sentence of
imprisonment in community confinement depends on two mistaken premises - the premise that
there are not various types of pieces of irnprisonment, but rec 28 C.F.R. § SDO.l (d) (listing
various types), and the premise that BOP is required to give effect to a judicial recommendation

Seetion 3622, which provides for temporary release of prisoners, likewise does not
provide clear authority to support BOP's practicc. In pnnicular, each of the subparts of section
3622 presupposes that an offender is in a 'plaee of. . . imprisonment." and none authorizes
extended placement of a prisoner in community confinement Subsection 3622(a) permits
release of a prisoner for no more than 30 days for various purposcs. including attending to
important framin matters (e.g., attending a funeral or visiting a dying rolativc), obtaining medical
treanncnt, or contacting a prospective employcr. Subsection 3622([)), in authorizing the release
of a prisoner to “pnnicipate in a training or educational program in the eommunit~y," provider that
tltc prisoner shall "conrt'rtu{e] in official detention at the prison facility." A.nd subsection 3622(¢)
provides that a prisoner who obtains temporary release for purposes of “paid cmployment,"shall
°`conlr'mr[r:] in official detention al the penal or correctional facility.“

We therefore conclude that the BO? practice is not lawful.

“\'

ln sum: When a federal offender receives n Zonc C or Zonc D sentence of imprisonman
section 362l and section 3622 of title 18 do not give BOP general authority to place the offender
in community confinement from the outset of his sentenee. Nor do they gi ve DOP general
authority to transfer him from prison to community confinement at any time BOP chooses during
the course of his sentence

m £¢..../Pr££. 317 ;
M. Edward Wltclnn 111 `
Prineipal Deputy Assistant Attorney Genera|

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EXHIBIT “C”

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FBOP Popu|ntion Risos

 

  

  
      

 

 

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Date: till/2003 3:22 F’M

Sender: bopwatch@yahoogroups.com

To: tbussert@bussert|aw.com

bcc: Shereen Char|ick

PHorHy:Nonnm

Subject:[BOP\/Vatch] FBOP Emerges as Largest Prison System in U.S.

From the Correctional News:
http://www.corroctiohalnews.com/newsflash/Drint€urroht.html

fbop graph
<http://www.correctionalnews.com/newsflash/imaoeS/fbop.qlf>
FBOP Emerges as Largest Prioon Syotem in U.S.

WASHINGTON - The Federal Bureau of Prisons {FBOP) has surpassed
Callforula and Texds as the largesc prison SySLem th the Unlced
States,

holding 164,011 prisoners as of November 7, according to recent
F`BOP

population reports.

Reporcs from the Callfornia Deparcmenc of Corrections (CDC) put
that

system'o population at 161,387 on 0ctober 31, while Texas
Deparrment of

Criminal Justice (TDCJ} officials calculated their population
to be

146,496 on Novomber 6, the day before the FBOP's tallies.

"The emergence of the federal prison system as the nacion'S
largest

reflects a trend that has been underway for over two Years,"
Says Eli

Gage. publisher of <htcp://www.correctionalnews.com/>
Correctional

News. "while individual States have been suspending prison
construction,

Scaling back mandatory Sentencing laws, and exploring
alternative

Sentencing, the FBOP has continued to build, and build
quickly."

"The FBOP is growing just as rapidly as Texas is shrinking,"
Said Gage.

Only two years ago, prison populations in Texas and California
exceeded

the FBOP'S population of 142,530 by about 20,000 and 15,000
prisoners

respectively. The FBOP, Since that time, has increased its
population by

more than 20,000 inmates.

None of this is surprising to industry observers. Scott
Higgins, design

and conocruction chief for the FBOP, announced in 2000 that the
BLII'@SU

would build four to six new institutions a year for the next
Several

years. For FYZOOJ., the BOP received $863 million for facilities

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nationwide.

The following year, the Bush administration proposed spending

one

billion dollars for BOP construction and $31 million for INS
detention

construction at a time when Federal prisons were significantly
more

crowded than state prisons.

The Bureau tackled its aggressive construction schedule by
Committing

itself to the design-build delivery method, which accelerated
the

bidding process. In addition, the Clinton administration opened
the door

for the Bureau to rely heavily on private prison companies to
both build

and operate its facilities, further reducing costs and
accelerating

timelines.

The new federal prisons all appear very similar, using
prototype

buildings that can be configured in various ways, based on site
conditions and security ratings. The new generation of
facilities cost

an average of $110 million to build and can house 1,200
prisoners each.

"The prison-building boom of the 19905 has waned everywhere
except at

the federal level. There are very few new prisons entering the
construction pipeline on the state level because budgets are
tight and

the projects are unpopular with the public," says Gage. "The
federal

prison construction boom may just be an echo of the earlier
one, but at

this point, it seems likely the Bureau will remain the largest
systemr

perhaps into the next decade.“

www.bop.gov/weekly.html
www.correctionalnews.com < http://www.correctionalnews.com/>

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U.S. Department of Justice
Federal Bureau of Prisons

 

 

 

OPI: CPD

Pro ram NUMBER: 7310.04
g DATE: 12/16/98
SUBJECT: Community Corrections
Center (CCC)

Statement

Transfer Procedure

 

 

1. PURPOSE AND SCOPE. To provide guidelines to staff regarding
the effective use of Community Corrections Centers (CCCs). This
Program Statement defines placement criteria for offenders,
requires that staff members start the placement process in a
timely manner, and defines the circumstances when inmates may
refuse Community Corrections (CC) programs. It also establishes
an operational philosophy for CCC referrals that, whenever
possible, eligible inmates are to be released to the community
through a CCC unless there is some impediment as outlined herein.

CCCs provide an excellent transitional environment for inmates
nearing the end of their sentences. The level of structure and
supervision assures accountability and program opportunities in
employment counseling and placement, substance abuse, and daily
life skills.

One reason for referring an inmate to a CCC is to increase public
protection by aiding the transition of the offender into the
community. Participating in community-based transitional
services may reduce the likelihood of an inmate with limited
resources from recidivating, whereas an inmate who is released
directly from the institution to the community may return to a
criminal lifestyle. While clearly dangerous inmates should be
separated from the community until completing their sentences,
other eligible inmates should generally be referred to CCCs to
maximize the chances of successful reintegration into society.

sinally, the scope of this Program Statement has been extended to
include CCC consideration/placement of District of Columbia
Department of Corrections inmates. .

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2. PROGRAM OBJECTIVES. The expected results of this program
are:

a. All eligible inmates will have opportunities to participate
in CCC programs to assist with their reintegration into the
community, in accordance with their release needs.

b. All inmates will have opportunities to communicate directly
with staff who make significant CCC referral recommendations.

c. Referral packets for CCC placement will be timely and
complete.

d. Before any inmate is transferred to a CCC. the CCC staff
will have the required notice and other documentation.

e. The public will be protected from undue risk.
3. DIRECTIVES AFFECTED
a. Directive Rescinded

PS 7310.03 Community Corrections Center (CCC)
Utilization and Transfer Procedures (3/25/96)

b. Directives Referenced

PS 1434.06 Jurisdiction on Escape Related Issues -
Memorandum of Understanding USMS/FBI/BOP
(7/25/94)

PS 1490.04 Victim and Witness Notification (2/3/98)

PS 5100.06 Security Designation and Custody
Classification Manual (6/7/96)

PS 5110.12 Notifications of Release to State and Local
Law Enforcement Officials (1/21/98)

Ps 5180.04 central Inmace Monicoring system {8/16/96)

PS 5250.01 Public works and Community Service Projects
(1/19/93}

PS 5264.06 Telephone Regulations for Inmates (12/22/95)

PS 5280.08 Furloughs (2/4/98}

PS 5322.10 Classification and Program Review of Inmates

. (9/4/96)

PS 5325.05 Release Preparation Program, Institution
(7/18/96)

PS 5330.10 Drug Abuse Programs Manual, Inmate (5[25/95)

PS 5380.05 Financial Responsibility Program, Inmate
(12/22/95)

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PS 5550.05 Escape from Extended Limits of Confinement
(3/27/96)

PS 5553.05 Escapes/Deaths Notification (9/17/97)

PS 5800.07 Inmate Systems Management Manual (12/24/91)

PS 5800.11 Central File, Privacy Folder, and Parole Mini
File (9/7/97)

PS 5873.05 Release Gratuities. Transportation, and
Clothing (9/4/96) -

PS 5882.03 Fines and Costs (2/4/98)

PS 6000.05 Health Services Manual (9/15/96)

PS 6070.05 Birth Control, Pregnancy. Child Placement,
and Abortion (8/9/96)

PS 7300.09 Community Corrections Manual (1/12/98)

PS 7320.01 Home Confinement (9/6/95)

PS 7331.03 Pretrial Inmates (11/22/94)

PS 7430.01 Community Transitional Drug Treatment
Services, Inmate (1/20/95)

3621(b)

18 C. §
C. § 3624(¢}

U.S.
18 U.S.
4. STANDARDS REFERENCED

a. American Correctional Association 3rd Edition Standards for
Adult Correctional Institutions: 3-4265, 3-4343, 3»4343-1,
3-4387. 3-4388, 3-4388-2, 3-4389. 3-4391, 3-4393, 3»4393~1

b. American Correctional Association 3rd Edition Standards for
Adult Local Detention Facilities: 3-ALDF-3E-04, 3-ALDF-4E-19,
3-ALDF-4E-19-1, 3-ALDF-4F-O4, 3-ALDF~4F-05, 3»ALDF-4F-O7,
3-ALDF-4G-Ol, 3-ALDF-4G-06, 3-ALDF-4G-07

c. American Correctional Association 2nd Edition Standards for
Administration of Correctional Agencies: 2-CO-4G-01, 2-CO-4G»02

d. American Correctional Association Standards for Adult
Correctional Boot Camp Programs: 1-ABC»3D-04, l-ABC-4E-20,
l-ABC-4F-08, l-ABC-4F-10, 1-ABC-4G-Ol, 1»ABC-4G-02, 1¥ABC-4G-03,
1-ABC-4G-06

5. sTArUToRg AUTHOR;TY. 18 U.s.C. § 3624(c). provides=

"The Bureau of Prisons shall, to the extent practicable,
assure that a prisoner serving a term of imprisonment spends
a reasonable part, not to exceed six months, of the last ten
per centum of the term to be served under conditions that
will afford the prisoner a reasonable opportunity to adjust

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to and prepare for the prisoner's reentry into the
community. The authority provided by this subsection may be
used to place a prisoner in home confinement. The United
States Probation Office shall, to the extent practicable.
offer assistance to a prisoner during such pre-release
custody."

18 U.S.C. § 3621(b) provides:

"The Bureau of Prisons shall designate the place of the
prisoner's imprisonment. The Bureau may designate any
available penal or correctional facility . . . the Bureau
determines to be appropriate and suitable." A CCC meets the
definition of a "penal or correctional facility."

Therefore, the Bureau is not restricted by § 3624(c) in
designating a CCC for an inmate and may place an inmate in a CCC
for more than the "last ten per centum of the term," or more than'
six months, if appropriate.

Section 3624(c), however, does restrict the Bureau in placing
inmates on home confinement to the last six months or 10% of the
sentence. whichever is less.

6. PRETRIAL[HOLDOVER ANDZOR DETAINEE INMATES. This Program

Statement does not apply to pretrial, holdover, or detainee
inmates.

7. COMMUNITY-§AS§D PROGRAMS

a. Communityicorrections Centers ICCC}. CCCs, commonly
referred to as "halfway houses,“ provide suitable residence,
structured programs, job placement, and counseling, while the
inmates‘ activities are closely monitored. All CCCs offer drug
testing and counseling for alcohol and drug-related problems.
During their stay, inmates are required to pay a subsistence
charge to help defray the cost of their confinement; this charge
is 25% of their gross income, not to exceed the average daily
cost of their CCC placements. Failure to make subsistence
payments may result in disciplinary action.

These contract facilities, located throughout the United
States, provide two program components: the Community
Corrections Component and the Prerelease Component:

(l) The Community Corrections Component is designed as the

most restrictive option. Except for employment and other
structured program activities, an inmate in this component is

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restricted to the CCC. An inmate shall ordinarily be placed in
the Community Corrections Component upon arrival at the CCC.

This orientation period normally lasts for two weeks or
until the inmate has demonstrated to CCC staff the responsibility
necessary to function in the community. Based on their
professional judgment, CCC staff shall determine when an inmate
is prepared to advance to the Prerelease Component.

(2) The §rerelease Componegt is designed to assist inmates
making the transition from an institution setting to the
community. Thcse inmates have more access to the community and

family members through weekend and evening passes.

b. Community Corrections Programs. In addition to a CCC's
traditional services. the Bureau also has the following

ccommunity-based prcgrams. Referral procedures may be described
in independent Bureau directives issuances. The Community
Corrections Manager (CCMJ reviews the inmate‘s characteristics
and the recommendations noted in the referral package to
determine if one of the following programs (if available) may be
more appropriate than traditional CCC placement.

(1) Comprehensive Sanctions Cen§er (CSC). The CSC concept,

initiated by the Bureau, with the extensive cooperation and
teamwork of U.S. Probation and CCC contractors, was developed to
provide courts with a wider range of sentencing options and to
facilitate the development and implementation of community
program plans tailored to the individual needs of prerelease
inmates.

The CSC is designed to meet the needs of higher risk
prerelease inmates and consists of six different levels of
supervision, ranging from 24-hour confinement to Home
Confinement.

It also may have an intensive treatment component consisting
of substance abuse education and treatment, life skills training,
mental health counseling. education, employment assistance. and
mentoring. The inmate's progress is systematically reviewed by a
Program Review Team (PRT), consisting of representatives from the
Bureau, U.S. Probation. and the CCC.

(2) Mgth§rs and ;nfan§s ngethgr (MINT}. MINT is an

alternative residential program that promotes bonding and
parenting skills for low risk female inmates who are pregnant»
The inmate is placed in the program two months prior to delivery
and remains there for three months after delivery.

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{3) Home Confinement. Home Confinement is a generic term
used to cover all circumstances in which an inmate is required to
remain at home during non-working hours of the day. Electronic
monitoring equipment is sometimes used to monitor compliance with
the program's conditions. These programs provide an opportunity
for inmates to assume increasing levels of responsibility, while,
at the same time, providing sufficient restrictions to promote
community safety and convey the sanctioning value of the
sentence.

Home Confinement provides an option for inmates who do not
need the structure of a residential facility. Except for inmates
who are initially sentenced to and graduate from the Intensive
Confinement Center Program, statutory provisions limit the length
of Home Confinement to the last 10% of the sentence, or six
months, whichever is less. Inmates are required to pay
subsistence of 25% of their gross income to defray the costs of
Home Confinement and electronic monitoring.

The Bureau is involved in two Home Confinement programs:
Home Confinement operates from the Bureau's own network of CCCs
and the U.S. Probation Division program.

(a) CCC Contractors. The first form of Home Confinement
is CCC contractor-operated programs. In these programs, CCC
staff monitor the inmate. Currently, only a few of these
programs use electronic monitoring equipment. Supervision is
provided by daily telephone contacts and periodic personal
contacts in the home and workplace.

(b) U.S. Probation Office. The second form of Home
Confinement involves placing federal inmates in programs operated
by the U.S. Probation Office. These programs use electronic
monitoring equipment with U.S. Probation Officers (USPO)
providing supervision.

(4) Transitional Services Program §T§P). The community-

based transition phase of the Bureau's Residential Drug Treatment
Program is designed to complement the accomplishments and
continue the institutional program's treatment plan. It
reinforces the inmate's personal responsibility to lead a drug-
free lifestyle through personal accountability for choices,
confrontation of negative thinking patterns. and instruction in
basic social skills. Inmates who successfully complete the
Residential Drug Treatment Program's institutional phase should
normally be considered for the maximum 180 day period of CCC
placement, if they are otherwise eligible.

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(5) Intensive Confinement Center (ICC[. A lengthy period

of Community Corrections Center confinement follows the
completion of the ICC program“s institutional phase. The CCC
time is divided among the restrictive Community Corrections
Component, the Prerelease Componentl and Home Confinement.
Specific referral procedures are outlined in the ICC Program

Statement.

B. RELEASE PLAN. Staff shall begin release planning at an
inmate's first team meeting, normally the initial classification,
and shall continue throughout the inmate's confinement. The
following guidelines apply:
. \

a. Planning early in an inmate's period of confinement is
necessary to ensure release preparation needs are identified and
appropriate release preparation programs are recommended.

b. Preliminary decisions regarding eligibility for CC Programs
are to be made well in advance of the last year of confinement.

c. A final and specific release preparation plan. including a
decision as to CCC referral, is normally established at a team
meeting no later than ll to 13 months before an inmate's
projected release date.

9. CCC CRITERIA AND REFERRAL GUIDELINES

a. Regular Referrals. Staff shall make recommendations for
CCC placements based on assessments of inmate needs for services,
public safety. and the necessity of the Bureau to manage its
inmate population responsibly. CCCs are a program element and
are not to be used as a reward for good institutional behavior,
although an inmate's institutional adjustment may be a factor in
making a referral determination.

A number of factors must be weighed to determine the length of
CCC placement for inmates, including their individual needs and
existing community resources. Ordinarily, inmates with shorter
sentences do not require maximum CCC placement due to reduced
transition needs. Additionally, inmates who are required to
spend a portion of time in a CCC as a condition of release (i.e.
supervised release or court order) do not require an extended
Bureau CCC placement. For example, if the Unit Team determines
the inmate needs a six month CCC placement, but the inmate is
required to stay in a CCC for 90 days as a condition of release,
then the institution shall ordinarily refer the inmate for a 60-
90 day CCC placement.

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Referrals to CCM offices should include a recommendation
regarding the length of stay (range), such as recommending 60 to
90 days or 90 to 120 days, etc§ This range of at least 30 days
allows the CCM to match population needs with budgetary and CCC
bed space resources. a process which requires this flexibility.

However, there will be cases when the institution, for various
management reasons, wants the CCM to place the inmate not earlier
than a specific date. Then, the CCC referral form should specify
a recommended placement date rather than a range and further
state that the CCM should not adjust that date. The CCM shall
adhere to the recommended date, with any adjustment only being
downward if budget and/or bed space constraints are a factor.

The following CCC referral guidelines apply;

(l) An inmate may be referred up to 180 days, with
placement beyond 180 days highly unusual, and only possible with
extraordinary justification. In such circumstances, the Warden
shall contact the Regional Director for approval and the Chief
USPO in the inmate's sentencing district to determine whether the
sentencing judge objects to such placement.

(2) The ultimate goal is to maximize each eligible inmate's
chances for successful release and a law-abiding life.

(3) When an inmate has a history of escape or failure in
one or more CC Programs, careful review and consideration should
be given regarding the suitability of participation and the
length of placement.

(4) Inmates with minor medical conditions or disabilities
may also be considered for community placement. Inmates are
required to assume financial responsibility for their health care
while assigned to community programs. Such inmates must provide
sufficient evidence to institution staff of their ability to pay
for health care while at a CCC prior to the referral being made.
When an inmate is unable or unwilling to bear the cost of
necessary health care, the inmate shall be denied placement.

(5) Inmates who have been approved for CCC referral and are
otherwise appropriate for camp placement shall be transferred to
a camp for intermediate placement. The inmate should have
completed the Institution Release Preparation Program at the
parent institution. The parent institution shall complete the
CCC referral packet and the camp should be closer to the inmate's
release residence. This process should be completed to allow the

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inmate a minimum of a 60 day placement at the camp prior to the
acceptance date at the CCC.

b. MINT Referrals. Female inmates are eligible to enter the
program at the CCC generally during their last two months of
pregnancy. After birth, the mother is allowed three additional
months to bond with the child. The mother shall then be returned

y to an institution to complete her sentence. If she is eligible
for prerelease services, she may remain at that facility only if
she is going to be supervised in that judicial district.

The CEO may approve early or extended placements with a
recommendation by the treating obstetrician and.Clinical
Director's concurrence. A placement extending beyond 180 days
requires the Regional Director's approval. Direct court
commitments shall have a secondary designation noted on the
Inmate Load and Security/Designation form (BP-337). This shall
be used to determine the institution responsible for the inmate's
medical expenses while she is confined in the MINT Program.

Authority to pay immediate post-natal care of the child born to
an inmate while in custody is derived from administrative
discretion when the Bureau finds itself responsible for the cost
by default (no other resources can be compelled to pay). It is
reasonable that the Bureau provides for the child's medical
expenses for the first three days after routine vaginal birth or
up to seven days for a Cesarean section.

Prior to the birth, the mother must make arrangements for a
custodian to take care of the child. At this time, the CEO shall
ensure the person or agency taking custody of the child is also
asked to be responsibile for medical care costs beyond three days
after birth. (Note: This may be extended by the Regional
Director for an additional seven days for extenuating
circumstances on a case-by-case basis.) The person(s) receiving
custody of the child should sign a Statement of Responsibility
for medical care costs, clearly indicating that the signing party
accepts financial responsibility. Unit Management staff are
responsible for obtaining this statement, and forwarding copies
to the Health Services Administrator (HSA) for placement in the
HSA's outside hospitalization file and to the Controller (see the
Sample Statement of Responsibility (Attachment D)).

 

Health Services staff shall confirm an inmate's pregnancy and
evaluate her medical condition. Health Services staff shall
indicate whether CCC placement is medically appropriate and
document this on the Medical Evaluation for Transfer of Inmates
to CCC Type Facility (BP-351) which shall be forwarded to the
Unit Team.

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When the Unit Team has concerns regarding the appropriateness
of a CCC placement (such as criminal history, severity of current
offense), procedures will be followed according to Section
10.i.(2), Limitations on Eligibility for All CCC Referrals.

The following CCC referral guidelines apply in addition to the
guidelines provided for regular referrals:

(l) The inmate must be pregnant upon commitment with an
expected delivery date prior to release.

(2) The inmate or guardian must assume financial
responsibility for the child's care, medical and support, while
residing at the CCC. Should the inmate or the guardian be unable
or unwilling to bear the child's financial cost, the inmate may
be transferred back to her parent institution.

(3) An inmate who becomes pregnant while on furlough, or
has more than five years remaining to serve on her sentence(s),
or plans to place her baby up for adoption shall not be referred
for MINT placement.

Referrals to CCMs should state a specific date of placement.
This date should be approximately two months prior to the
inmate's expected delivery date.

The CCC's Terminal Report should fully describe the inmate's
experience in, and reaction to, the MINT Program. It should also
summarize counseling received in the program and include follow-
up medical or program recommendations for the institution to
facilitate the inmate's transition.

Inmates in need of foster care placement assistance shall be
referred to the institution social worker, or if the institution
does not have a social worker, staff shall contact a social
worker in the community for foster care placement assistance.

10. LIMITATIONS ON ELIGIBILITY FOR ALL CCC REFERRALS. Inmates
in the following categories shall not ordinarily participate in
CCC programs:

 

a. Inmates who are assigned a "Sex Offender" Public Safety
Factor.

b. Inmates who are assigned a "Deportable Alien" Public Safety
Factor. `

c. ‘Inmates who require inpatient medical, psychological, or
psychiatric treatment.

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d. Inmates who refuse to participate in the Inmate Financial
Responsibility Program.

e. Inmates who refuse to participate, withdraw, are expelled,
or otherwise fail to meet attendance and examination requirements
in a required Drug Abuse Education Course.

f. Inmates with unresolved pending charges, or detainers,
which will likely lead to arrest, conviction, or confinement.

g. Ordinarily, inmates serving sentences of six months or
less.

h. Inmates who refuse to participate in the Institution
Release Preparation Program.

i. Inmates who pose a significant threat to the community.
These are inmates whose current offense or behavioral history
suggests a substantial or continuing threat to the community.

Examples are inmates with repeated, serious institution rule
violations, a history of repetitive violence, escape, or
association with violent or terrorist organizations.

To determine whether an inmate poses a significant threat. a
number of factors must be considered. The key consideration is
public safety when assessing the inmate's proclivity for violence
or escape against their placement needs.

A waiver of the Public Safety Factor is not required for
inmates transferred via unescorted transfer to CCC placements.

Ordinarily, inmates with a single incident of violence should
not automatically be excluded from CCC placement. As noted
earlier, clearly dangerous inmates should be excluded from CCC
placement.

(l) When there exists a basis for significant doubt
regarding whether the inmate currently poses a threat to the
community. the Warden should consider contacting the Chief USPO
in the release district (see the Sample letter (Attachment A)) to
seek guidance on the referral's appropriateness. A copy of this
letter shall be maintained in the Inmate Central File.

(2) When an inmate is excluded under this subsection, a
memorandum, signed by the Warden, shall be prepared and placed in
the Inmate Central File to explain the rationale for exclusion
from CC Programs.

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j. Inmates whose admission and release status is pretrial,
holdoverl or detainee.

11. REFUSALS. when an eligible inmate refuses CCC placement.
staff shall investigate the inmate's reasons. Staff may honor an
inmate's refusal of CCC placement.

Suitable reasons to decline placement might include previous CCC
failure, potential conflict with other residents, and location or
remoteness from release residence. When the inmate does not
present a suitable reason, and the unit team believes that a
placement would serve a correctional need, the unit team shall
make every effort to encourage participation.

when an inmate refuses placement, a memorandum, signed by the
Associate Warden (Programs) and the inmate, shall be placed in
the Inmate Central File. The memorandum should document the
inmate's rationale for refusal and all unit team effort to
encourage participation.

12. CCC REFERRAL PROCEDURES. Normally 11 to 13 months before
each inmate's probable release date, the unit team shall decide
whether to refer an inmate to a Community Corrections program.

Medical staff shall notify the inmate's Case Manager promptly
when a pregnancy is verified. Upon notification, the unit team
shall decide if a MINT referral to a Community Corrections
program will be made.

a. Referral to CCM. Staff shall use the Institution Referral
form (BP-210) (Attachment B) when referring an inmate for
transfer to a CCC. Information included in the Additional
Information (11) and Specific Release Preparaticn Needs (12)
sections must be as specific as possible regarding the inmate's
needs.

. Attachment B contains instructions for completing the
Institution Referral form and related materials. Signed copies
of the "Community Based Program Agreement" must be included with
all CCC referrals. The Warden is the final decision-making
authority for all CCC referrals the unit team recommends.

If the Warden approves the CCC referral, the unit team shall
forward two copies of the Institutional Referral form and
appropriate attachments to the CCM. Staff shall enter the DST
SENTRY assignment of "W CCC ACT.” Ccpies of appropriate
documents are prepared so that one may be forwarded to the CCC
while the CCM retains the other for reference.

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A separate packet with appropriate copies shall be forwarded to
the Transitional Services Manager (TSM) in the receiving region
where the inmate is being released for graduates of Residential
Drug Abuse Programs. Staff are referred to the Drug Abuse
Programs Manual for responsibilities and/or documentation
requirements. If the CCC referral packet is mailed prior to
completion of the Treatment Summary and Referral form (BP-549),
the Drug Abuse Treatment Coordinator shall forward the completed
BP-549 form to the Transitional Services Manager in the region of
the inmate's release and provide a copy to the unit team.

The referral packet shall be forwarded to the CCM at least 60
days prior to the maximum recommended range or date. However,
additional time may be required for processing inmates with v
special community-based program needs (i.e. mental health, drug
transition, disabilities. and inmates with higher security
needs).

For MINT referrals, the referral packet shall ordinarily be
forwarded to the CCM at least 60 days prior to the recommended
date. If the inmate is committed to Bureau custody or arrives at
the designated facility at any stage during the second trimester
of pregnancy, the referral shall be forwarded to the CCM as
quickly as possible.

If an inmate is scheduled for release via parole, and CCC
placement is for 45 days or less. a copy of correspondence
directed to the U.S. Parole Commission (USPC) outlining the
release plan and requesting parole certificates, as well as
copies of the USPO's letter recommending release plan approval,
must be included in the referral package.

b. Mandato;y CCC Residence. When an inmate must reside in a
CCC as a condition of parole, mandatory release, or supervised
release supervision after release from confinement, the
institution shall refer the case to the appropriate CCM. who
shall refer the case for placement under these procedures:

Institutions shall notify the USPC of cases that cannot be
placed (see specific information in Attachment B}. Inmates in
this category should not be referred for transitional purposes
and have this time "stacked" on to the Court or USPC's ordered
period of CCC placement.

Inmates releasing from an institution via 3621E CMPL or 4046€
CMPL, or who have mandatory CCC residence as a condition of
parole, mandatory release, or supervised release supervision,
should be referred for release preparation transfer to a CCC. and
the CCM should work with U.S. Probation to waive the CCC

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requirement during the period of supervision. The CCM shall
attempt to affect the 180 day release preparation placement for
inmates releasing via 362lE CMPL or 4046C CMPL. The CCM shall
keep the appropriate U.S. Probation Office apprised of the
inmate's progress toward reaching the goals of Community
Corrections programming. Should the USPO still require CCC
placement as a condition of supervision. the CCM will ordinarily

honor the request.

c. Referral to CCC. CCMs shall immediately forward referrals
to appropriate CCCs. CCC staff shall notify CCMs in writing of
acceptance or rejection. when referrals are accepted, CCCs will
send acceptance letters, subsistence collection agreements, and
CCC rules and regulations to inmates in care of their Unit
Managers. Institution staff shall ensure acknowledgment forms
are returned to CCCs. CCMs shall monitor referrals for timely
response from contractors.

d. CCC Rejgction. CCC staff must provide specific reasons, in
writing, to CCMs when they reject referrals. In such cases, CCMs
shall determine if further discussion with the CCC staff is
appropriate or, if not, referral to an alternate resource is
possible. when all placement options have been exhausted, the
CCM shall inform the referring institution warden, with copies to
the Unit Manager, that the inmate cannot be transferred to a CCC
and the reason for rejection.

e. Transfer Date. when CCMs are notified of an inmate's
acceptance by a CCC, a transfer date to the CCC is to be
established. and the CCM shall enter the SENTRY destination
assignment transaction. The effective date shall be the approved
future transfer date.

Destination assignments, "DST,” have been established in SENTRY
for contract CCCs and work release programs. These assignments
use the CCM facility code followed by the contract location code.
CCMs may add their contract location destination assignments for
inmates in any Bureau facility. when an inmate arrives at the
CCC and is admitted to the location (in SENTRY), the destination‘
assignment is automatically removed.

These assignments shall appear on the CCM and institution
SENTRY daily log. Institution staff may display rosters of
inmates approved for CCC transfer, and CCMs may display lists of
pending arrivals by contract location.

The location description (name of the CCC) shall appear on the
inmate' s profile. If for any reason, an inmate cannot be

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transferred to a CCC on the scheduled date. institution staff
shall notify the CCM immediately.

13. PREPARATION FOR TRANSFER

a. Trust Fund Account. No later than three weeks prior to the
approved transfer date. unit staff are to determine the amount in
the inmate's trust fund account that may be given to the inmate
at the time of transfer. A check or draft for the balance (with
the inmate as payee) shall be sent to the CCC immediately.

In accordance with the Program Statement on Telephone
Regulations for Inmates, inmates transferring to CCCs shall be
qualified as "exception" cases during the three-week period prior
to the approved transfer date for purposes of placing collect
telephone calls.

Institution staff should use discretion in giving inmates large_
amounts of cash, and if there is reason to question an inmate's
ability to handle money responsibly. the amount may be reduced.

For inmates who have no funds or resources. unit staff shall
determine the extent to which a gratuity is indicated and shall
initiate paperwork, if appropriate (see the Program Statement on
Release Gratuities, Transportation, and Clothing).

If the institution is holding savings bonds for an inmate, or
if an inmate has a savings account at a local bank, the unit
staff is to ensure these financial resources are available at the
release destination when the inmate arrives.

b. Documentation to CCC. No later than two weeks prior to an
inmate's approved transfer date, institution staff shall forward
the following documents to the CCC:

(l) Authorized Unescorted Commitments and Transfers (BP-
385). with current photograph;

(2) Original of the Transfer Order;

(3) Copy of Furlough Application and Approval Record, with
specific travel method and itinerary;

(4) Receipt for CCC rules and regulations, if applicable
(this may include the CCC's subsistence agreement form); and,

c. Clothing. No later than one week prior to an inmate's
approved transfer, staff shall make arrangements for release
clothing. Suitable release clothing shall be provided as

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described in the Program Statement on Release Gratuities,
Transportation, and Clothing. lFor non-MINT referrals, at a
minimum, release clothing is to include adequate clothing to
complete a job search and perform work, Additionally, an outer
garment, seasonably suitable for weather conditions at the
inmate's release destination, shall be provided.

d. Medication. No later than one'week prior to an inmate's
approved transfer, Health Services staff shall review the
inmate's medical record to determine if the inmate is on
continuous medication. when an inmate is transferred to a CCC, a
30-day supply of chronic medication shall be provided pursuant to
a new prescription. If an inmate is prescribed a controlled
substance, assistance from the CCM may be required to determine
if the CCC can accommodate the inmate's special medication needs.
Staff should refer to the Health Services Manual for further
clarification. CCC staff are to safeguard, store, and dispense
controlled substances in accordance with the terms of their
Bureau contracts.

e. Identification. It is essential that each inmate have some
acceptable form of identification while at a CCC. Therefore,
during Institution Release Preparation Programs, unit staff shall
assist inmates to acquire social security cards (mandatory) and,
if possible, drivers license, and copies of-their birth
certificates. Additional photo identification may be required if
the inmate is using air transportation. These items may be given
to an inmate on the transfer date. or mailed to CCCs prior to
transfer with the materials described in subsection b. above.

f. Community Custody Status. An inmate must be assigned
"COMMUNITY" custody status prior to transfer to a CCC. Unit
staff shall state the inmate's current custody status if other
than "COMMUNITY" on the Transfer Order in the Custody
Classification section. Next to the current custody, unit staff
shall type "Community custody effective on (whatever date the
Warden deems appropriate)."

g. Parole Commission Review of Di§ciplinary Action. An inmate

who has had a discipline hearing resulting in a Discipline
Hearing Officer finding, after USPC action to establish a _
presumptive or effective parole date, may not be transferred to a
CCC until the_Commission has considered the disciplinary report
and final action has been taken.

h. Sentenge Cglculation. The Inmate Systems Manager (ISM) of
the sending institution shall ensure that an inmate's old law
sentence computation is "complete“ with all appropriate good time
entered before the inmate departs the institution. /

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i. Final Review of 362l(e) Eliqibility. The decision to grant
an inmate early release is a significant one for the Bureau;
therefore, it is essential that`unit staff carefully review
relevant statutory and regulatory criteria before an inmate's
final release under 18 U.S.C. § 3261(e)» Specifically, the Unit
Manager or designee must ensure completion of "Final Review of
3621(e) Eligibility" (Attachment K from the Drug Abuse Programs
Manual), before unescorted transfer to a CCC or release to a
detainer (Drug Abuse Programs Manual, Inmate). Attachment K must
be completed and routed to the warden. Ordinarily, Attachment K
should be routed to the warden along with other CCC release
paperwork (i.e., transfer order, furlough application, etc.);
however, a copy of Attachment K is not forwarded to the CCC.

The Drug Abuse Program (DAP) Coordinator and CMC must review
and sign Attachment K prior to the Warden‘s review. The DAP
Coordinator's review is to ensure that items 5, 7, and 8 are
accurate. Once Attachment K is signed and dated, the Unit
Manager must ensure that a copy is filed in the disclosable
portion of Section 5 (release processing) in the Inmate Central
File. The original Attachment K shall be forwarded to the ISM
for filing in the Judgment and Commitment (J&C) file.

No inmate shall be released from an institution to a CCC (or
‘ detainer) until the ISM receives the Attachment K with
appropriate signatures.

j. Education. To assist an inmate in securing employment, the
inmate should have a resume', a copy of his or her education
transcript, GED certificate, and any other education/vocational
training certificates completed during his or her confinement.

k. Exemptiog from Time Reggirements. when transfer dates have
not been established in time for staff to implement the above

procedures within the time requirements, they shall be
accomplished as soon thereafter as possible.

 

14. TRANSFER AND ARRIVAL NOTIFICATION

a. Trggspgrtatiog Cgsts. Staff are referred to the Program
Statement on Furloughs for procedures regarding transportation
costs for inmates scheduled for transfer to a CCC.

b. Notifigation of Travel Sch§dule. On the date of transfer.
the sending institution's ISM shall notify the CCM via BOPNet

Groupwise of the inmate's departure and travel schedule. A copy
of this notification shall be placed in the inmate's J&C file.
If Groupwise is inoperable. the notification shall be made by
telephone and documented in the J&C file.

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c. Arrival Notification. CCC staff shall notify CCMs
immediately when an inmate arrives as a transfer from an
institution. Immediately means:

(l) Upon arrival, if during regular CCM working hours; or

(2) At the first opportunity during regular CCM working
hours if arrival is during evenings, weekends, or holidays.

d. Electronic Notification. By close of the business day
following an inmate's scheduled arrival, the CCM shall "admit"

the inmate in SENTRY, if the CCC has confirmed the inmate's
arrival. when Groupwise is inoperable, notification of arrival
shall be made by telephone to the sending institution‘s ISM, and
the inmate "admitted" in SENTRY at the earliest opportunity.

e. Escape. If an inmate has not arrived at the CCC within a
reasonable period after the scheduled arrival time (no later than
24 hours), the CCM shall report the inmate as an escapee. Then,
the ISM at the sending institution must be notified immediately
by telephone or Groupwise.

The ISM at the sending institution is responsible for updating
SENTRY to indicate the change in release status from "furlough
transfer" to ilescape" as of the date the inmate fails to report.
The ISM at the sending institution also shall make the inmate's
sentence computation inoperative as of the date following the
escape. Staff at the sending institution shall write an incident
report and conduct a UDC/DHO hearing in absentia. The sending
institution shall make all notifications required by the Program
Statement on Escapes/Deaths Notification. The ISM at the sending
institution shall also notify the FBI of the inmate escape. The
ISM at the sending institution must also fax a copy of the Notice
of Escaped Federal Prisoner (BP-393) to the FBI, U.S. Marshals
Service, local law enforcement officials, and law enforcement at
the inmate's home of record. The Inmate Central File is to be
retained at the sending institution.

The CCM shall notify the U.S. Marshals service in the CCC
district. The CCM shall also notify the Regional Director, the
Central Office, and the sending institution via Groupwise of the
escape.

f. Arrivgl Confirmation. The ISM at the sending institution
shall use SENTRY to confirm an inmate's arrival at a CCC. when
an inmate's arrival is confirmed, the ISM shall forward the
following documents to the CCM by certified mail:

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(l) Applicable release forms and certificates that have
been completed insofar as is possible by unit staff and reviewed

by ISM,'

(2) Victim/witness Notification form (BP-323), if
applicable;

(3) .Completed and current committed fine forms and all
related documentation such as the PSI, if applicable;

(4) Copies of conditions of supervised release, if
applicable; and

(5) Appropriate forms and other documentation concerning
final good conduct time awards for an inmate sentenced under the
CCCA.

15. INMATE CENTRAL FILE. The Inmate Central File shall be
retained at the institution consistent with provisions
established in the Program Statement on Inmate Central File.
Privacy Folder, and Parole Mini-files.

 

/S/
Kathleen Hawk Sawyer
Director

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Attachment A

Sample letter for wardens to send to Chief USPOs

John Jones. Chief USPO
Judicial District
Street Address

City, State zip Code

Re: Doe, John
Reg. No.: 12345-678

Dear Mr. Jones:

The above-noted inmate will complete his/her sentence on
and is being considered for referral to a

Community Corrections Center (CCC) on or about
for prerelease services. Because of certain factors in this
offender's case, we are closely reviewing his/her appropriateness
for CCC placement. Therefore, I am soliciting your view in this
matter recognizing that your office will soon be responsible for
supervising this offender in the community.

Please indicate below whether or not you favor release
through a CCC for this offender. Feel free to attach additional
comments. If you favor release through a CCC. I ask that you
consider providing some assistance in initiating the supervision
process while the offender resides in the CCC. Please return
this letter as soon as possible so that release planning can be
finalized.

Thank you for your assistance in this matter of mutual

concern.
Sincerely,
warden
Yes, I favor referral to a CCC for
prerelease services.
No, I do not favor referral to a CCC.
Comments:

 

 

 

Chief USPO
District

 

Date

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Please refer to the latest issuance of BOPDOCS for a copy of BP-8210.073,
INSTITUTIONAL REFERR.AL FOR CCC PLACE_MENT.

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Attachment B, Page 2

INSTRUCTIONS FOR COMPLETION OF INSTITUTIONAL REFERRAL FOR CCC
PLACEMENT ”

All federal institutions shall use the standard form
"Institutional Referral for CCC Placement", BP-210, when
referring inmates for community corrections placement in any type
of community program.

The following instructions will be followed when completing the
form:

GENERAL INFORMATION:

§ Use the current EMS Community Corrections Directory (BOP
COMM CORR DIR) or BOPDOCS Community Corrections Directory to
determine the appropriate CCM.

§ All referrals shall be signed by the Warden.

§ Provide the inmate's full committed name and register
number. The inmate's unit should also be included.

§ Identification of Unit Manager and Groupwise mailbox
codes will expedite notification.

0 Institution name and mailing address allows CCC staff to
send materials directly to the unit manager.

SPECIFIC INFORMATION:

1. Indicate the inmate's city of residence upon release. A
complete address should be included in current progress report.
Indicate the federal district of supervision.

2. The ISM shall insure the anticipated release date provided on
the referral includes all eligible good time earnings. The date
should be an accurate estimate of the date the inmate is to be
released from custody. If release is by parole, only the parole
date needs to be indicated. At the time of this review, the ISM
will insure there are no detainers that would prevent CCC
transfer.

3. Staff specifying a recommended placement date shall further
indicate that the CCM should not adjust that date. (Include this
information in Item 12.) CCMs shall adhere to the recommended
date. with any adjustment only being downward due to budget or
bedspace constraints as a factor.

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For MINT referrals, staff should provide a specific date of
placement, which is normally two months prior to the requested
delivery date. Planned periods of longer than six months require
the Regional Director's approval and the Chief U.S. Probation

Officer in the inmate's sentencing district to determine whether
the judge concurs with the placement. (Include this information
in Item 12.)

4. Indicate the date the report was submitted and attach a copy
of any transmittal memo to the USPC.

5. An inmate who has been scheduled for a statutory interim
hearing may not be transferred to a CCC until after the hearing
or unless the inmate waives the hearing. If neither is the case,
the CCM will hold the referral in abeyance until the matter is
resolved. This information should be included in item 11.

6. Offenders sentenced under the Sentencing Reform Act or the
Anti-Drug Abuse Act may have a term of supervised release
following confinement. Offenders convicted of drug offenses may
have a Special Parole Term.

7. Indicate if the inmate has "aftercare" requirements (must be
imposed as a supervision condition by the U.S. Parole Commission,
or the sentencing court). This helps the CCM select the most
appropriate facility.

B. If the inmate is a Central Inmate Monitoring case, the Warden
has clearance authority on all CIM cases with the exception of
wITSEC cases. The Inmate Monitoring Section, Central Office will
provide CIM clearance for wITSEC cases.

9. If the area of referral is not the sentencing district, staff
will forward release planning materials to the probation office
in the proposed district of supervision. Institution staff
should refer to the Operations Memorandum on Release Planning,
Inmate - Memorandum of Understanding (MOU) Between the BOP and
the Administrative Office of the U.S. Courts for further
instructions. At the time of the unit team's recommendation for
CCC placement. the case manager should submit release plans_to
the USPO if other than the sentencing district. A relocation
acceptance letter should be included in the CCC referral packet.
Additionally, for inmates releasing in their sentencing district.
a copy of the proposed supervised release plan with the final
progress report shall be forwarded to the probation office in the
sentencing district for verification of residence and employment.

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10. The Program Statement on Fines and Costs describes
institution responsibilities for CCC transfers for inmates who
have fines. If the inmate has a committed fine. include this
information in item 11.

11. It is extremely important to include any information that
might have a bearing on the facility's decision to accept the
inmate for placement. Information on outstanding detainers or
pending charges must be included. Indicate if there is a
substance abuse history. Also, indicate if the inmate has
successfully completed the institutional phase of the
comprehensive drug treatment program. If more space is needed,
attach an additional page.

12. Information on special needs of the individual and/or
unusual circumstances is very important for staff in deciding on
acceptance and setting up an individual program plan once the
inmate is accepted. If staff wish to recommend a specific
facility or program, they may include that information here. The
CCM, in managing the CCC population, will consider the referenced
special needs when establishing an acceptance date. Therefore,
detailed and specific comments in this section are very helpful.
If more space is needed, attach an additional page. Prenatal
care needs should be addressed also.

Inmates who are released from institutions with a condition of
parole. mandatory release, or supervised release that requires
they reside in a CCC must be referred for CCC placement prior to
their release. CCMs will notify institutions of acceptance or
rejection.

13. For MINT referrals, indicate the expected date of delivery.
and the projected date of the inmate's return to the parent
institution.

OINFORMATION TO BE INCLUDED IN THE CCC REFERRAL PACKET TO CCM:

 

A checklist is provided on the referral form to insure that all
necessary material is included. CCMs who receive referrals
without the required information or documents are instructed to
hold the referral in abeyance until they are able to obtain the
information from the institution.

Referral Form
All items shall be completed. Do not indicate “See progress
report".

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Current Progress Report

A current progress report fless than 180 days old at time of
referral), including any significant new information that is
available since the report was written, must be included with the
referral. Especially important is specific information regarding
proposed residence and employment (including telephone numbers),
availability of other community resources, and any other
information regarding release plans.

Presentence Investigation/Violation Report
Two copies of all relevant presentence investigation/violation

report(s).

Community Based Program Agreement

This form allows facility staff to discuss the referral with
family, potential employers, and other community resources and
notifies the inmate of any special conditions of CCC residence
such as financial responsibility and urinalysis. This form also
acknowledges the inmate's agreement to comply with the rules and
regulations of the Home Confinement program and stipulates that
participation in home confinement may be an alternative to
placement in a Community Corrections Center. Additionally, for
MINT referrals, it notifies the inmate or the guardian/foster
care provider of their responsibility for medical care and
subsistence of the child while in a community based program.

BP-339 CIM Case Information Summa;y

This document is required for all CIM assignments except for
“pure“ separation cases.

USPO Acceptance Letter

If an inmate is releasing to a district other than the sentencing
district, a relocation acceptance letter from the appropriate
USPO must be included in the referral packet.

Copy of Latest Parole Commission Notice of Action

Provide the most current copy which includes §§egifi£;ggtign,
such as the presumptive parole date, effective parole date.
continue to expiration, etc.

BP-351 Medical Evaluation for Transfer of Inmates to CCC Iype
Facilitg .
Must be completed prior to the referral in order to advise the

facility of potential problems or special medical needs.

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Judgment and Commitment Order

Serves as documentation of authority to maintain custody and
identifies special commitment`conditions, If necessary, this
document can be provided to the U.S. Marshals Service for
purposes of apprehension or maintaining custody.

Statement of Res onsibilit MINT Referrals

For MINT referrals, this serves to notify the CCM. CCC, and
institution staff of who will assume custody and total financial
responsibility for the child.

OINFORMATION TO BE FORWARDED TO THE TRANSITIONAL SERVICES
MANAGER:

Information should be forwarded to the TSM in the region where
the inmate is releasing. Staff are to refer to the Drug Abuse

Programs Manual, Inmate for additional information for
responsibilities/documentation.

Treatment Summarv and ReferralLForm - Druq Abg§e Treatment
Programs

This form provides assessment findings, treatment progress and
other pertinent information for inmates who are graduates of
Residential Drug Abuse Programs.

Agreement to participate in Community Transition Prggrammigg
By signing this form, the inmate acknowledges that he/she
understands and agrees to comply with program rules and
regulations of the Bureau's community-based drug programs.

Progress Report
Refer to summary provided in "Current Progress Report" for

INFORMATION TO BE INCLUDED IN THE CCC REFERRAL PACKET TO CCM.

Referral Form
Refer to summary provided in "Referral Form" for INFORMATION TO
BE INCLUDED IN THE CCC REFERRAL PACKET TO CCM.

OTHER INFORMAT;O§

Any information or documents believed to be necessary to assist
in the pre-release planning process. A current psychological
report should be included if it is anticipated the inmate'will
have mental health needs.

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Correspondence from/to family, friends, prospective employers,
probation officers, etc., that may provide specific information
about release plans and resources. A copy of the referral form
is sent to the CUSPO in the sentencing district and the district
of supervision. Other pertinent documents will have already been
sent by the institution to these offices.

Erocedures

For inmates being referred to contract facilities, the CCM

will forward the referral to the appropriate facility. with
instructions for the facility director to reply to the CCM with a
copy to the referring institution. In addition to the transfer
date, the facilities letter of acceptance will usually include
documents for the inmate to sign and return prior to transfer.
Such documents should be returned to the CCC by institution staff
with the BP-385(51). transfer order and furlough papers.

The CCM maintains a copy of the referral for reference, should
any questions arise from the facility, USPO. inmate's family or
the institution.

Using institution records, unit staff will complete as much
information as they can on release paperwork. Only the
"unknowns" which must be determined while the inmate is in the
CCC will be left blank. Inmates do not sign release papers
(acknowledging they understand supervision conditional and
institution staff do not sign "certifying release" prior to an
inmate's transfer. These certifications are done by CCC staff at
the time of an inmate's release.

The institution is responsible for typing all information on
release certificates. The line "now confined in the" shall
specify the name of the CCC from which the inmate is to be
released.

The inmate should sign the space at the bottom of the release
certificate indicating an understanding of the conditions of
release before departure from the CCC. The CCC Director is to
sign the bottom portion of the form as the Chief Executive
Officer verifying the inmate's release.

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EXHlBIT “E”

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Statutory Authority to Contract With the
Private Sector for Secure Facilities

llze Federal Bureau of Prisons has statutory authority to contract with the private sector for
secure facilities

March 25. 1992

MEMORANDUM OPINION FOR THE DIRECTOR _
FEDERAL BUREAU OF PRISONS

This memorandum responds to your request for our opinion whether the Federal
Bureau of Prisons ("BOP") has statutory authority to contract with the private sector for secure
facilitiesl The General Accounting Ofl'lce ("GAO") has concluded that BOP lacks such
authority;2 BOP has taken the opposite view.’ For the reasons explained below, we conclude
that BOP has statutory authority to contract with the private sector for secure facilities

I.

BOP was established in the Department of Justice in 1930 to provide a central federal
organization responsible for the care and treatment of federal prisoners H.R. Rep. No. 106,
7lst Cong.. 2d Sess. l (1930). BOP has the authority and responsibility under 18 U.S.C. §
3621(b) to "designate the place of . . . imprisorunent" for prisoners who have been sentenced
to a term of imprisonment under relevant federal statutes. BOP “may designate any available
penal or correctional facility that meets minimum standards of health and habitability
established by the Bureau [of Prisons], whether maintained by the Federal Government or
otherwise.“ 18 U.S.C. § 3621(b).‘

 

'S_e_e Memorandum for J. Michael Luttig, Assistant Attomey General, Ot't`lce of Legal Counsel, from J.
Michael Quinlan. Director, cheral Bureau of Prisons (Apr. 26, 1991) ("Opinion Request").

zGAO, Private Prisonsl Cgst Savings and BOP's Statutor_'y Authority Need to be Resolved: Report to the
Chairman, Subcomm. on Regt_tlation, Business Opportunities and Encrgy, ngse Comm. on Small Business

(Feb. 1991) ("GAO Repon“).

’§§ Opinion Reqnest at l; Memorandurn for J. Micl\aei Quinlan. Director. from Clair A. Cripe. General
Counsel. Federal Bureau of Prisons at 4 (Oct. 14. 1988) ("1988 Memorandurn'); Memorandum for Norman A.
Carlson, Director, from Ciair A. Cripe. Gcneral Counsel. Foderal Bureau of Prisons (June 10. 1983), reprinted

in anati;_ation of Corrections: Hearings Before the Subcomm. on Couns, Civil Libenies, and mg
Admigi§tration of lustice of the ngse Comm. on the ludiciag, 99th Cong., lst & 2d Sess. 150 (1985»86)

("Privatization Headng").

‘Scction 362l(b) is applicable to those convicted of offenses committed on or after November I. 1987. §_e_e_
18 U.S.C. § 3621 note. It is based on fenner 18 U.S.C. §4082(|3). reprinted in 18 U.S.C. §4082 note, which
governs as to offenses conunitted before Novcmbcr I. 1987. Former section 4082(b) provided in part that "[t]he
Attomey Genetal may designate as a place of confinement any available. suitable. and appropriate institution or
facility. Wh¢lh¢r maintained by the cheral Goverrmtent or otherwise.' References to section 4082 in this

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BOP has consistently taken the position that the language of section 3621(b) -
especially as it refers to facilities "whether maintained by the Federal Government or
otherwise" -- allows it to place federal prisoners in facilities operated by the private sector as
well as those run by fcderal, state, or local authorities _S_eg Opinion Request at 1; 1988
Memorandum at 4; Privatization Hearing at 150. lt has relied for this conclusion on the plain
language of the statute and on general principles of federal procurement law under which
executive agencies may enter into contracts with the private sector. _S_ge Opinion Request at l;
1988 Memorandum at 2-3; Privatization Hearing at 149-50; Bureau of Prisons and the U.S.

Parole Commission: Oversight Hearing Before the Subcomm. on Courtsl Civil Liberties, and
the Administration of lustice of the House Comm. on the Judiciary, 99th Cong., lst Sess. 16-

17 (1985) ("1985 Hearing"); s_e;g also Privatization Toward More Effective Government
Report of the President‘s Commission on Privatization 147 (Mar. 1988) ("President's
Commission").5

 

GAO, however. has concluded that, at least as to secure facilities. the statute's
reference to facilities "maintained by the Federal Government or otherwise" includes only
federal, state, and local facilities, but not facilities operated by the private sector. §c_e GAO
Report at 45-50. GAO argues that there is no evidence that Congress contemplated private
incarceration of federal prisoners except in limited circumstances involving residential
community treatment centers such as halfway houses l_d_., at 48-49.° GAO contends that the

 

memorandum should be understood to refer to fortner section 4082. Our analysis in this memorandum applies to
the authority to designate the place of incarceration under both section 3621(1)) and former section 4082(b).
Refcrences in this memorandum to the history of section 3621(b) should be understood to include its predecessor
S[E[UI€S.

’One writer has claimed that BOP's former director, Norman A. Carlson. testified to the contrary in a 1985
Hearing. §_e_e lra P. Robbins, The Leaa| Dimensions of Private lncarceration 399 n.940 (1988) ("Robbins").
However, Robbins quotes only a portion of Carlson's remarks. in context. it is plain that Carlson stated that he
was unsure, without the benefit of advice of counsel, whether BOP could privatizc "one of the existing 45
institutions." 1985 Hearing at 17 (emphasis added). lie stated unequivocally his view that BOP has "statutory
authority in [its] enabling legislation in title 18 to contract with State. local or private agencies for the care and
custody of offenders l think the enabling legislation gives us that authority." _l_cL at 16. Carlson further
clarified his position in a 1986 hcaring:

 

Allhough l raised some question [regarding the legal authority to contract for an entire facility]
when l testified before this subcommittee in March of 1985. our General Counscl advises mc
that we currently have the necessary authority to contract for the management of an entire
facility under 18 U.S.C. § 4082. This law allows the Attorney General to designate as a place
of confinement '.'any available suitable and appropriate institution or facility, whether
maintained by the Federal Government or otherwise."

Privatization Hearing at 141.
°A residential community treatment center is a pre-release facility to which a prisoner may be transferred in
order to be assisted in becoming re-established in the community. S. Rep. No. 613. 89th Cong.. lst Sess. 7

(1965) ("S. Rep. No. 613"). Such facilities are contrasted with secure facilities used to house prisoners Wh¢
'remain a distinct threat to the community." LcL at 7-8.

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authority in section 3621(b) to place prisoners in any facility "whether maintained by the
Federal Government or otherwise" is circumscribed by 18 U.S.C. § 4002 (authorizing the
Attorney General to contract for the incarceration of federal prisoners with states and
localities) and 18 U.S.C. § 4003 (permitting _the Attorney General to cause new federal
facilities to be erected), which in GAO‘s view outline the only two options available to BOP
for obtaining incarceration facilities GAO Report at 46-48.1

ll .

We begin our analysis with the language of the statute. As the Supreme Court has
recently said, in construing a statute the one "cardinal canon before all others," is that we must
"presume that a legislature says in a statute what it means and means in a statute what it says
there." §onnecticut Nat'l Bank v, Germain, 503 U.S. 249, 253-54 (1992). "When the words

of a statute are unambiguous then, this first canon is also the last: '[the] inquiry is

complete."' _I_d; at 254 (quoting Rubin vs United States, 449 U.S. 424, 430 (1981)).

The plain language of section 3621(b) gives BOP open-ended authority to place federal
prisoners in “any available penal or correctional facility" that meets minimum standards of
health and habitability without regard to what entity operates the prison. As if to emphasize
the breadth of BOP‘s authority to use “any available facility," Congress expresst noted that

such facilities could be those "maintained by the Federal Government or otherwise " The

 

’Section 4002 of title 18 provides in part:

For the purpose of providing suitable quarters for the safekeeping. care. and
subsistence of all persons held under authority of any enactment of Congress.
the Attomey General may contract, for a period not exoeeding three ycars.
with the proper authorities of any State, Territory. or political subdivision
thereof, for the imprisonment, subsistence care, and proper employment Of
such persons.

Sectiot_t 4003 provides that if the authorities of a state, territory, or political subdivision thereof are unable ar
unwilling to enter tnto such contracts or "if there are no suitable or sufficient facilities available at reasonable
cost, the Attorney General may select a site . . . and cause [an appropriate facility] to be erected."

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words "or otherwise" are not qualified or defined They are most obviously read to include las
the statute has already described) any penal or correctional facility -- without regard to whether
it is maintained by a state, local, or private entity - as long as it meets “minimutn standards of
health and habitability established by the Bureau." ln short, there is nothing in the language of
section 3621(b) that limits BOP‘s placement authority to those facilities operated by the federal
government, states, or localities. Based on the well-recognized canon of statutory construction
referred to above, we believe that the plain language of section 3621(b) is dispositive as to

BOP‘s authority to place prisoners in facilities operated by the private sector.

Although GAO concedes that the plain language of section 3621(b) does not limit
BOP's choice of prison operators, GAO Report at 48. GAO asserts that section 3621(b)'s
legislative history establishes that Congress did not authorize placing federal prisoners in
private secure facilities such as are at issue here. It contends that

[n]othing in the legislative history of this provision suggests that Congress ever
contemplated having private parties operate adult secure facilities Rather, it
appears that Congress' intention in enacting the provision concerning places of
confinement was simply to clarify that the Attorney General would have the
power to choose the places prisoners would be confined, which at that time were
limited to federal or state and local institutions

GAO Report at 48.

In light of the plain language of section 3621(b), we think GAO's conclusion that BOI’
lacks the authority to designate private secure facilities -- based on the absence of comment on
that issue in the legislative record -» is an incorrect reading of the statute.s Moreover, even if
we were lto rely on the legislative history of section 3621(b) to determine BOP‘s authority to

 

 

'We note that while GAO reports are often persuasive in resolving legal issues. they, like opinions of the
Comptroller General. are not binding on the executive branch. _S_eg Memorandum for Donald B. Ayer. D€Pufy
Attorney General. from J. Michael Luttig. Principal Deputy Assistant Attomey General, Office of 'Legal Counsei
at 8 (Dec. 18. 1989) ("This Office has never regarded the legal opinions of the Comptroller General as binding

- upon the Executive."); Reimbursement for Detail of Judge Advocate General Co[ps Personnel to a United States
Attorney's Ol`l°ic , 13 Op. O.L.C. 188. 189 n.2 (1989) ('"l`he Comptroller General is an officer of the legislative
branch. g M, 478 U.S. 714, 727-32 (1986), and historically. the executive branch has not
considered itself bound by the Comptroller General's legal opinions if they conflict with the legal opinions cf the
Attorney General and the Office of Legal Counsel.').

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place prisoners in privately operated facilities, we find nothing in the legislative history of
section 3621(b) to indicate that Congress intended to preclude the use of such

facilities to incarcerate federal prisoners. The language now contained in section 3621(b)
Originated in the Act of May 14, 1930, Pub. L. No. 71-218, 46 Stat. 325 ("1930 Act"), and
was adopted to resolve an ambiguity as to who had the power to designate the place of
confinement of federal prisoners. S. Rep. No. 533, 7lst Cong,, 2d Sess. 2 (1930) ("S. Rep.
No. 533") (statement of the Attorney General). It authorized the Attorney General to
"designate any available, suitable, and appropriate institutions, whether maintained by the
Federal Government or otherwise.“° The language enacted in 1930 has remained substantially
unchanged through its present codification in 18 U.S.C. § 3621(b).‘° During the various
reenactments of the provision, there was never any indication that the power to designate the
place of confinement was limited to designation of federal, state, or local facilities See, e.g.,
S. Rep. No. 225, 98th Cong., lst Sess. 141 (1983) ("The designated penal or correctional
facility need not be . . . maintained by the Federal Government.").

_ On the contrary. there is evidence in the legislative history of section 3621(b) that at

least after a 1965 amendment Congress specifically anticipated that BOP would designate
' privately operated facilities as places of incarceration In 1965 Congress amended the

designation provision to allow designation of a "facility" as well as an "institution." Act of
Sept. 10l 1965. Pub. L. No. 89-176, 79 Stat. 674 (former §4082(b), reprinted in 18 U.S.C. §
4082 note). The word "facility" was defined to ”include a residential community treatment
center." Ll_. at 675 (former § 4082(g), reprinted in 18 U.S.C. § 4082 note ." The legislative
history of former section 4082(g) indicates that by enacting that definition Congress intended
that "facility" would include community treatment centers such as those already being used no
place juvenile offenders. _Sg_e S. Rep. No. 613 at 3-4. As GAO concedes, GAO Report at 23,
at least one of those juvenile facilities was being operated by contract with a nongovernmental
entity:

The residential community treatment centers, to which the bill authorizes the
Attorney General to commit and transfer prisoners, are similar to the so-called

 

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*I`his language. contained in section 7 of the 1930 Act, was originally codified at 18 U.S.C. § 753i`, §§ 18
U.S.C. § 4082 note, and was later reenacted in modified form and codified at former 18 U.S.C. § 4082(b). S___ee
supra note 4.

'°Forrner section 4082(b) authorized the Attorney General to designate the place of incarceration for federal
prisoners. Section 3621(b) gives that authority to BOP. a component of the Justice Departmcnt. The change was
not intended to affect the authority with regard to place of confinement. but rather only to simplify the
administration of the prison system. S. Rep. No. 225. 98th Cong.. lst Sess. 141 (1983).

“The definition of "facility“ in fortner section 4082(g) did not llrph application of the term to residential
conununity treatment centers. §§ ZA Norman .l. Singer, §utherland Statuto[y Construction § 47.(11. at 152 (3d
cd. 1992 rev.) ("Sutherland"} ("[T]he word `includes' . . . conveys the conclusion that there are other items
includable, though not specifically enumerated.'). In any event, Congress deleted the definition of "facility"
when it substantially reenacted section 4082(b) in section 3621(b). Thus. particularly as it appears in section
3621(b). "facility" is not limited to residential conununity treatment centers. We reject the suggestion to the
contrary in Robbins at 412-13.

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halfway houses now operated by the Department of Justice for juvenile and
youthful offenders. . . .

. . . The halfway houses are operated_under different plans. . . . The New York
City center is operated under contract by Springfield University.

S. Rep. No. 613 at 3-4 (emphasis added). According to the Senate Report, Congress
envisioned that "under the bill's authority to use community centers for older types of

prisoners a similar variety of organizational plans will be adopted." idg at 4 (emphasis
added).

Accordingly, for many years BOP has, "with the knowledge of Congress, " contracted
"for the placement of lower security initiates in private facilities, particularly contract
Community Treatment Centers. “ 1985 Hearing at 22-23 (Testimony of Norman A. Carlson,
Director, BOP). See also i_d4 at 16-17 (”Today we have . . . nearly 2,500 [federal] inmates
who are in halfway houses. . . . We contract with State, local and private agencies for this
service,"). As Director Carlson testified in 1986, l'[s]ince 1981, the Bureau of Prisons has
relied solely on the private sector to provide prerelease housing through its community
treatment center programs." Privatization Hearing at 132. In 1986, BOP "contract[ed] with
330 Community Treatment Centers ["C'I'Cs”]. 234 of which [were] privately run. Over 3,000
Federal inmates [were] in these CTCs. . . . In 1984, approximately 80 percent of offenders
who were serving sentences of over six months and who were released to the community were
released through contract CTCs. " l_d_a at 168 (BOP staff position paper).

 

GAO apparently does not dispute BOP‘s authority to enter into private contracts for
residential community facilities §ee generally GAO Report at 48»49; see also Robbins at 412.
GAO does not believe, however, that the text and legislative history of the 1965 amendment
support the conclusion that Congress anticipated use of private secure facilities. lt reasons that
the Attorney General had specific statutory authority to contract for juvenile residential
community treatment centers. §e_q 18 U.S.C. § 5040. '2 Thus. in GAO's view, the 1965
amendment does not demonstrate Congress's view that the Attorney General already had
authority to contract for private incarceration facilities, and, at most, it provided that authority
for adult residential conuriunity facilities See also Robbins at 400 ("[T]he meaning of the
phrase `or otherwise‘ has changed, but only to the rather limited extent of permitting [BOP] to
contract with private corporations for the confinement of federal prisoners in certain special
facilities, such as residential community-treatment centers.").“

 

 

 

l:'Section 5010 provides in part that '[t]he Attorney General may contract with any public or private agency
or individual and such community-based facilities as halfway houses andfoster homes for the . . . custody and
care of juveniles in his custody.“ Provisions authorizing such private contracts have been in effect since 1938.
S___ee .Iuvenile Jusiice and Delinquency Act of 19?4. Pub. L. No_. 93-415, § 510. 88 Stat. 1109. 1138 (1974); Act
of June 16, 1938, ch. 486, § 6, 52 Stat. 764. 766.

"Robbins contends that because the precursors of section 3621(b) and sections 4002 and 4003 were enacted
fvgmh¢r. M 1930 ACI §§ 3. 4. & 7. the "or otherwise" language of section 3621{b) can only be interpreted

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GAO's response misses the point and ignores the statute's plain language Former
section 4082(b), as amended in 1965, gave the Attorney General the authority to place a
federal prisoner in a "facility" including, but not limited to, a residential community treatment
center. The Senate Report indicates that Congress expected the Attorney General to use the
same kinds of arrangements for the adult residential facilities contemplated by the 1965
amendment as already existed in connection with similar facilities for juvenile offenders, at
least one of which involved a contract with a nongovernmental entity. S. Rep. No. 613 at 3-4
(under the "authority to use community centers for older types of prisoners a similar variety of
organizational plans will be adopted "). Yet Congress apparently saw no need to provide
additional authority beyond that inherent in the designation provision itself to allow the
Attorney General to enter into contracts with the private sector for adult facilities. This
indicates that Congress believed the Attorney General had the authority under former section
4082(b) to enter into such contracts.

There is, moreover, no statutory basis in section 3621(b) for distinguishing between
residential community facilities and secure facilities. Because the plain language of section
3621(b) allows BOP to designate "any available penal or correctional facility," we are
unwilling to find a limitation on that designation authority based on legislative history.
Moreover, the subsequent deletion of the definition of "facility" further undermines the
argument that Congress intended to distinguish between residential community facilities and
other kinds of facilities. §ge sng note ll.“

 

as referring to institutions that were authorized by the precursors of sections 4002 and 4003, j_.&, federal, state,
Iocal. or other public institutions Robbins at 405-06. He then reasons that the 1965 amendment only broadened
the authority now contained in section 3621(b) to include the power to contract for residential conununity
treatment centers: '

Thus, although section 4082(b) was expanded to allow the Attorney General to confine adult
federal prisoners in privately run facilities, Congress contemplated such action only with respect
to qualified pre-release prisoners in residential community-treatment centers. Congress did not
intend the amendment to be a broad grant of authority to place adult federal prisoners in all
types of privately run facilities

LL at 412-13 (footnote omitted).

Robbins places great weight on the fact that the precursors of section 3621(b) and sections 4002 and
4003 were initially enacted in the same public law. §`Le£ ing at 405. However. these sections subsequently have
been reenacted, amended, and recodified in separate locations in the United States Code. Section 3621(b) is
codified in subchapter C (lrnprisonment) of chapter 229 of title 18. entitled "Postsentence Adrninistration.ll
Sections 4002 and 4003 are codified in chapter 301 of title 18, entitled 'General Provislons.' which includes a
number of loosely-related provisions. Seel e.g.. § 4001 (Limitation on detention; control of prisons); § 4004
(Oatlis and acknowledgments); § 4005 (Medical relief; expenses). The mere fact that these sections were initially
enacted together, without more. does not require that they shopld be construed in a like manner.

“We also note that GAO‘s construction of the 1965 amendment would mean that the phrase "maintained by
the federal government or otherwise" would have two different meanings at the same times it would mean
fcderal. Stale. or local government "institutions." but federal. state, local. or private ‘facilities.'

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IIl.

GAO also contends that the language of section 3621(b) can only be understood in
conjunction with 18 U.S.C. § 4002, which explicitly authorizes the Attorney General to
contract with states and localities for the "imprisonment, subsistence, care, and proper
employment“ of federal prisoners, and 18 U.S.C. § 4003, which permits the Attorney Genetal
to cause appropriate facilities to be erected. §§ gtp_r_a note 7. These statutes do not mention
contracts with the private sector. GAO argues that sections 4002 and 4003 detail tlte only two
courses of action the Attorney General and, by inference1 BOP may take to provide
incarceration facilities, and thus provide a statutory limit on the otherwise broad language of
section 3621(b). GAO Report at 47-48 & n.8. GAO invokes the maxim of expressio unius e§t
exclusio alterius" to conclude that because Congress addressed "two courses of action the
federal government may use in order to obtain incarceration facilities" in some detail, the
"clear inference is that Congress intended to preclude any arrangement not expressly
authorized" by those sections. Ld._ at 47.

As an initial matter, we question whether application of the expressio unius maxim is
appropriate in these circumstances The statutes at issue here are both affirmative grants of
authority. The premise of the maxim -- that the expression of one thing is the exclusion of
another ~- simply does not apply where the expressions of limitation are set up against an .
additional affirmative grant of authority. The maxim, it seems to us, is more properly
reserved for those circumstances in which the issue is whether the enumeration of items is
exhaustive of the authority provided in the absence of other grants of authority. lt is quite
something else to apply the maxim, as GAO would have us do, to conclude that limitations on
a particular grant of authority should also limit a separate grant of authority.

We also note that the maxim of expressio unius is not a rule of substantive law, but a
rule of statutory construction based on “'logic and common sense."' Sutherland § 47.24, at
228 (quoting l-lerbert Broom. A Selection of Legal Maxims 453 (lOth ed. 1939)). lt embodies
a "presumption that . . . Congress intended to deny all powers not expressly enumerated" and
it “should be invoked only when other aids to interpretation suggest that the language at issue
was meant to be exclusive " Bailey v. Federal lntermediate Credit Bank, 788 F.2d 498, 500
(Sth Cir.) ceg. denied, 479 U.S. 915 (1986). Application of the presumption generally occurs
where "'there [is] some evidence the legislature intended [the presumption's] . . . application .
lest it [should] prevail as a rule of construction despite the reason for and the spirit of the
enactment."' Sutherland § 47.25. at 234 (alteration in original) (quoting golumbia Hospital

Ass'n. v. City of Milwaukee, 151 N.W.Zd 750, 754 (1967)). §ee al§o Eational R.R.'

 

"Expressio unius gsr exclusio alterius means “the expression of one thing is the exclusion of another."
Blaclr's Law Dictiona[_y 581 (6th ed. 1990). Under the maxim ofexp_ressio unius, where a “form of conduct. the
manner of its performance and operation, and the persons and things to which it refers are designated. there is an
inference that all omissions should be understood as exclusions.' Sutherland § 47.23, at 216 (footnotes omitted).

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Passenger Corp. v. National Ass‘n of R.R. Passengers, 414 U.S. 453, 458 (1974) (expressio

unius maxim "must yield to clear contrary evidence of legislative intent. "). "

Here. the presumption suggested by t_h_e expressio unius maxim is undermined by the
fact that nothing in the text or legislative history of sections 4002 and 4003 confirms the
negative inference that Congress intended by the grants of contracting authority to limit BOP's
unqualified section 3621(b) power to designate the place of incarceration of federal prisoners.
Sections 4002 and 400_3, by their terms, are permissive rather than exclusive. Section 4002
provides that the Attorney General "may contract . . . with the proper authorities of any State,
Territory, or political subdivision thereof" in order to "provid[e] suitable quarters for the
safekeeping, care, and subsistence" of federal prisoners, _Ig_. (emphasis added). Alternatively,
under section 4003 the Attorney General "mgy . . . cause to be erected" a suitable federal
facility. lg._ (emphasis added). Nothing in these sections or anywhere else in BOP's enabling
legislation could be said to prohibit contracting with the private sector or to establish statutory
requirements that would be at variance with such private contracts.

The legislative history of sections 4002 and 4003 indicates that these provisions were
enacted specifically to address particular problems in connection with the incarceration of
federal prisoners in state and local facilities. Sections 4002 and 4003 were enacted in response
to a shortage of prison space for federal prisoners and the lack of a central administrative
organization to oversee the disposition of such prisoners, _S_e_e S. Rep. No. 533 at 2 (statement
of the Attorney General). Although the federal government was already relying heavily on
state and local facilities for the incarceration of federal prisoners, it was "powerless to remedy
the deplorable conditions of filth, contamination, and idleness which [were] present in most of
the antiquated jails of the country" and was "obliged to pay the States the rates they charge[d]
for boarding Federal prisoners, even though they may be exorbitant." I_d_g

ln response, section 3 of the 1930 Act, the precursor to section 4002, placed specific
limitations and requirements on contracts with states and local governments Section 4 of the
1930 Act, now substantially contained in section 4003, was enacted because emergency
conditions and the large number of federal prisoners in certain districts made it desirable for
the Department of Justice to have the authority to provide prisons of its own. §_e_e S. Rep. No.
533 at 3. Because these provisions were enacted to address specific circumstances involving
the incarceration of federal prisoners in federal, state, and local facilities,` Congress's failure to

 

"Ihis Office has noted on numequ occasions that '[i]n attempting to assess congressional intent. the
expressio unius maxim may serve as a guide to that intentl but it is inconclusive Other factors. including . . .
the nature of the legislation, and tlte legislative history. must also be considered itt the effort to discern
congressional intent.' Applicgbility of Cgrtain Cross-Cuuing Statutes to Bloelt Grants Under the Omnibus
Budget Reconciliation Act of 1981. 6 Op. O.L.C. 83. 105 (1982)(footnote omitted). See also ngg_r\yg|g
M;u_¢twn~=____touzdl. 6 Op. o.t..c. sss. 407 (1982) t“‘nt¢ application state [gpg§tg_st] maxim is more
persuasive when the language of the statute, its legislative history, and other factors point to the same result.').

 

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address contracts with the private sector is not surprising, and does not reflect an intention to
prohibit such contracts."

The expressio unius argument is further undermined because BOP does not, as a
general matter of federal contracting law, need specific statutory authorization to contract with
the private sector. The general rule is that an agency may use contracts with the private sector
to carry out its statutory mission as long as the contract is not "specifrcally prohibited by
statute" or "at variance with required statutory provisions or procedures. " 1 Ralph C. Nash,
Jr. & John Cibinic, Jr., Federal Procurement Law 5, 10 (1977) (“Nash & Cibinic”). As these
commentators have explained:

The authority of the executive to use contracts in carrying out authorized
programs is . . . generally assumed in the absence of express statutory
prohibitions or limitations Some statutes contain specific authorization to use
contracts, others are silent on the matter and, in some very rare cases. statutes
require the use of contracts. However, the executive agencies normally have the
discretion to decide whether to accomplish their objectives by contract or
through the use of Government employees

_lg4 at 5. The courts have recognized that government agencies have broad discretionary
powers in carrying out their functions, including the authority to contract for services when it
is determined to be in the agency's interest. Seel e.g., Local 2017 AFGE v. Brown, 680 F.2d
722 (l Ith Cir. 1982) cert. denied, 459 U.S. 1104 (1983); Lgcal 2855, AFGE v. United Statesl
602 F.2d 574 (3d Cir. 1979). Thus, the power of an agency to contract for services is not
dependent on specific authority to enter into such contracts. _S_e_e Memorandum for Clair A.
Cripe, General Counsel, Federal Bureau of Prisons, from Ralph 'l`arr, Deputy Assistant
Attorney General, Office of Legal Counscl (Dec. 30, 1982)."‘

 

 

“The argument that the Bureau`s 3521(b) designation power is limited by the options spelled out in sections
4002 and 4003 is also undermined by several provisions in BOP's enabling legislation that authorize other
permissible places of prisoner incarceration Section 4125(b} of title 18 authorizes the Attorney General to
"establish. equip. and maintain [work] camps upon sites selected by him . . . and designate such camps as places
for confinement of persons convicted of" federal offenses. In addition, the Attorney General may use inactive
Department of Defense facilities as prisons. Department ofJustice Appropriation Authorization Act. Fiscal Year
19?9. Pub. L. No. 95-624. § 9. 92 Stat. 3459. 3463 (1978). reprinted in 18 U.S.C. § 4001 note. 'I`hus. sections
4002 and 4003 do not in fact contain all the options available to the Attorney General in designating places of
incarceration ‘

"We do not suggest that there are no limitations on the authority of a governmental entity to contract for
goods or services. For example. a govemmental entity may not enter into a contract that is specifically
prohibited by statute or that is at variance with statutory provisions or procedures. §_ep_ l Nash & Cibinic at 10. `
ln addition. some functions are considered to be inherently governmental in nature and may not be delegated to
nongovernmental entities. 553 OMB Circular A-76 (Aug. 4. 1983). This memorandum also does not address

possible constitutional limitations on contracting See generally Constitutional Limits on "Qontracting gut”

De artrnent of lust'ce Functions Under MB Circular A-?d, l4 Op. O.L.C. 94 (1990). We are. of course.

available to consult with you or your staff as to constitutional issues that might arise in connection with contracts
with the private sector for prison facilities.

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lt is well established that BOP has authority to contract with the private sector for
various services in connection with incarceration facilities. §e_e Opinion Request (citing 40
U,S.C. § 471; 41 U.S.C. § 252(a); 48 C.F.R. §§ 1.101, 2.101); Privatization Hearing at 132-
33, 170-72. For example, BOP has entered i_nto private contracts for food service and
medical, educational, and psychological scrvices, and for consulting and other services in
connection with Federal Prison Industries. Privatization Hearing at 132-33, 170-72. See alsg
President's Commission at 147 ("Contracting for services and nonsecure facilities is a conunon
practice in the field of corrections. Virtually all the individual components of corrections (such
as food services, medical services and counseling, educational and vocational training,
recreation, maintenance, transportation, security and industrial programs) have been provided
by private contractors.“).

GAO claims that it does not dispute BOP's authority generally to contract with the
private sector for goods and services. §e_e_ GAO Report at 50 ("As a general proposition, an
agency may use contracts to carry out any activity that the agency is authorized to perform
under its enabling legislation or other statutory provision without a specific grant of
contracting authority. "). Rather, GAO contends that contracting with the private sector for
incarceration facilities would be ”inconsistent with the statutory scheme." which "describes
with specificity the courses of action the government may use to obtain incarceration
facilities. " ld_. See generally l Nash & Cibinic at 10 (governmental entity may not enter into a
"contract which is specifically prohibited by statute, or at variance with required statutory
provisions or procedures"). GAO's argument proves too much. Section 4002 states that "the
Attorney General may contract . ; . with the proper authorities of any State, Territory, or
political subdivision thereof, for imprisonmentl subsistence, carel and prope§ employment of
such persons. " _Id._ (emphasis added). To the extent GAO believes that contracting for private
incarceration facilities would be inconsistent with section 4002, private contracting for other
items involving the subsistence and care of prisoners would call into question BOP's well-
established authority, apparently not questioned by Congress, to enter into contracts with the
private sector for food service, clothing, and other goods and services.

More fundamentally, we disagree with GAO's assertion that private contracts for
incarceration of federal prisoners would be "inconsistent with the statutory scheme." GAO
Report at 50. As we have previously explained, §§ §up_@ pp. 67-70, 72-73, nothing in the
text or legislative history of section 3621(b) or sections 4002 and 4003 indicates that Congress
intended to prohibit such contracts. Given the broad and unlimited designation authority
contained in section 3621(b), we cannot conclude that private contracts would "conflict with
the statutory scheme" based on the grants of authority contained in sections 4002 and 4003 and
Congress' purported silence concerning private contracts.“’ ~

 

"We also reject GAO's contention that our interpretation of section 3621(b) is undercut by certain other
statutes that explicitly authorize the use of private facilities for`confinement. GAO Report at 49-50 (Ci¢ing 13
g..§g §§ ;0;3(a)(3) and 5040). The weakness of the argument can be seen by applying it consistently to 18

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Section 4013(a) authorizes the Attorney General to make payments from appropriated funds:

Case 3:03-cV-0027O-BTl\/|-POR DocumentZ Filed 02/07/03 Page|D.lOZ Page 93 of 113

Conclusion

For the foregoing reasons, we conclude that the Bureau of Prisons has the statutory
authority to contract with the private sector for secure facilities.

'I`IMOTHY E. FLANIGAN
Acting Assistant Attorney General
Office of Legal Counsel

 

[in] support of United States prisoners [itt non-Federal institutional for -

(l) necessary clothing;

(2) medical care and necessary guard hire;

(3) the housing. care. and security of persons held in custody of a United States
marshal . . . under agreements with State or local units of government or ggptracts with private
entities;

(emphasis added). GAO argues that section 4013(3)(3)'s reference to private contracts for prisoner incarceration
indicates that when Congress intended to allow private contracting it did so explicitly. Again. GAO’s argument
proves too much. lt would preclude private contracting for clothing, medical care. and security because
subsections (a)(l} and (a)(?.] do not explicitly permit private contracts as compared to subsection (a)(3). That
would again ca11 into question the Bureau' s well-established authority to contract with the private sector for Such
items. Sees s_up_r_ p. 74.

' Case 3:03-cV-0027O-BT|\/|-POR DocumentZ Filed 02/07/03 Page|D.lOS Page 94 of 113

EXHlBIT “F”

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EMM$ ; A new rule about halfway houses comes at a bad
§ !w , » __ time for David Duke
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WM*'*" z John Ashcroft says white- :
65 titlit§tlt$ __ collar felons will now have to
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Sttet.»élit$£tlet§ _, ;` prisons `
lt‘ih'{d.€éttt ' By Michael Isikoff
n NEWSWEEK WEB EXCLUS|VE
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Dee. 20 - In a dramatic Christmas-season
craekdown, Attorney General John Ashcroft’s
top deputies have rebuked the director of federal
prisons and ordered her to summarily remove
125 white collar felons from relatively lenient
halfway houses and immediately relocate them
to actual prisons.
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THE DIREC'I'IVE-SPELLED out in internal
memos obtained by NEWSWEEK--is part cfa
potentially far-reaching new policy designed by
Ashcroft’s top aides to insure “real timc” in federal
prisons for convicted tax evaders, inside traders and
other white-collar malefactors.

The Justice directive, signed this week by Deputy
Attorney General Larry D. Thompson, orders Kathleen
Hawlt Sawyer, director of the Bureau of Prisons (BOP),
to put an immediate end to a longstanding BOP practice

_ _.. _ _ ‘ _ . that has allowed hundreds ofwhite-collar felons to
:Z)',,’ ' ' ° ' ' ' - ~ avoid spending any time in prison. Instead, BOP has
routinely assigned these felons with relatively short
prison terms of two years or less to “cornmunity
corrections centers" or halfway houses in which
inmates go to work in the community and go horne to
visit their families on weekends-privileges not
available to inmates in prison.

The new policy move, officials said, is partly
intended to strengthen the hands of federal prosecutors
in high»priority cases like the Enron and WorldCom
scandals. OiHcials say they are trying to signal to
reluctant targets in those cases that they should
cooperate with the government--or else. “There’s a
clear signal being sent here," says one department
oli`tcia.l. “We’re not going to tolerate preferential
treatment for rich corporate executives who have
broken the law.”

Since the Enron scandal erupted last year, Ashcroh
and his top aides have sought to deflect any political
damage away li'om the Bush White House by showing
that the Justice Department was prepared to prosecute
corporate criminals just as aggressively as drug dealers
and terrorists.

 

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Case 3:03-cV-0027O-BT|\/|-POR Document 2 Filed 02/07/03 Page|D.lO€ Page 97 of 113

Along the way, Justice officials have taken a
number of controversial steps, including staging “perp
walks" in which prominent corporate executives, such
as Enron’s Andrew S. Fastow and Adelphia’s John
Rigas, were paraded before TV cameras after being
arrested. These and other practices have drawn howls of
outrage from corporate defense lawyers who have
accused Justice officials of “PR stunts" that trampled on
the constitutional rights of their clients.

While not as high profile as the perp wallcs, the
new Justice ban on alternatives to prison may prove far
more consequential in the long run, officials say. The
BOP's practice of sending white-collar felons to
halfway houses dates back at least 10 years. Officials
say it has allowed many relatively aitluent, and
disproportionately white, convicts to avoid doing prison
time-even when theirjudicially imposed sentences
under federal guidelines explicitly called for
“imprisonment.”

BOP officials hadjustitied the practice on the
grounds that in many cases the assignments to halfway
houses were recommended by federaljudges and that
the inmates in question were invariably first-time
offenders who posed no physical threat to the
community.

Ashcroft aides say they didn’t learn about the BO_P
practice until last year when a federaljudge in West
Virginia wrote Ashcroft a letter about a local dentist
who defrauded the government of more than $500,000
in taxes. Despite the dentist’s conviction on a sentence »
that called forjail time, the man never actually went to
prison. The letter from U.S. Judge Joseph Goodwin, a
Clinton appointee, triggered an internal review by the
Department of Justice's Otiice of Legal Counsel. “Our
guys were outraged,” says one DOJ otiicial.

The review culminated this week in a sternly
worded Dec. 16 directive from Thompson to BOP
director Sawyer. Thompson called BOP's actions
“unlawful” and a clear violation of “unambiguous"
federal guidelines calling for prison time for white-
collar convicts. He ordered prison officials to
“irumediately” start changing the bureau’s practices-
including transferring white»collar convicts currently in
halfway houses into prisons. Ot`ticials say this will
immediately apply to 125 inmates currently in halfway
houses-and potentially hundreds more each year,
including a number of high-profile defendants facing
charges by the DOJ’s corporate-crime task foroe.

'l`hornpson wrote in his two-and-a-half-page memo
that lBOP‘s “cunent placement practices run the risk of
erodrng public confidence in the federal judicial system.

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White-collar criminals are no less deserving of
incarceration than conventional offenders.”

He also said the BOP’s policy was undercutting
“the powerful deterrent effect” that real prison time can
have on white-collar criminals, especially given the fact
that such individuals “are often better educated and
more rational than other criminals and are thus more
likely to weigh the risk of possible courses of action
against the anticipated rewards of criminal behavior.”

The directive to Sawyer was unusual because it
constituted a rare rebuke of a top Justice Department -
official by a superior. (The BOP is part of the Justice
Department.) A spokeswoman for Sawyer declined
comment and said the director would not be available
for an interview. After receiving Thompson’s memo,
Sawyer today issued her own memo to all federal
judges notifying them of “a significant procedure
change” in its practices of sending inmates requiring
imprisonment to community corrections centers
(CCCS). “Effective immediately, this practice will no
longer be followed,” Sawyer wrote the judges. “The
Bureau will not use CCCs as a substitute for
imprisonment."

Officials say they were unable to identify any
current inmates who will be immediately affected by
the transfer. But one high-profile defendant who is
likely to be affected soon, officials said, is David Duke,
the fenner Ku Klux Klan leader and white supremacist
who this week pled guilty to mail and tax fraud. Duke
was accused by prosecutors of raising thousands of
dollars fi'om supporters and then misusing the money
for personal investments and gambling trips to
Mississippi’s Gulf Coast.

As a result of his guilty plea, Duke, 52, is eligible
for a prison term of up to 15 months under federal
guidelines Under BOP’s old policy, that would likely
have meant time in a halfway house. Now, officials
said, he will almost certainly go to prison. Duke‘s `
lawyer did not return a phone call seeking comment

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White-Collar Crime Now Gets Real Time
New Federal Prison Policy Criticized

By Dan Eggen
Washington Post Staff Writer
Tuesday, January 7, 2003; Page AOG

Federal corrections officials will begin transferring 125 nonviolent offenders horn halfway houses to
regular prisons this month as part of a Justice Department crackdown on white-collar criminals, who
will no longer be able to evade prison by serving time in low-security community facilities.

'Ihe new policy means that hundreds of other white-collar defendants, including some of those caught
up in the financial scandals at Enrorr, WorldConr and other corporations, also have lost a detention
option used by the U.S. Bureau of Prisons (BOP) for nearly two decades.

Under the old policy, federal prisons officials allowed many first-time nonviolent offenders to serve
their sentences in community corrections centers - halfway houses - rather than prison.

Defense attorneys, and many federal prisons oflicials, supported the approach as a way to ease prison
crowding and encourage rehabilitation of low-risk criminals But many federal prosecutors have long
complained that the policy allowed wealthy criminals to circumvent federal sentencing guidelines

"These white~collar defendants were getting a benefit that was not available to non-white-collar

‘ defendants," one longtime former federal prosecutor said, "It tended to be the`situation where, if you

were richer and whiter than your typical defendant, you could find all these ways to get to a halfway
house.“

After a legal review by Justice Department lawyers, Deputy Attorney General Larry Thompson issued
an unusual rebuke last month to the head of the prisons bureau, Kathleen Hawk Sawyer, arguing that
corrections officials had overstepped their authority in allowing prison sentences to be served in halfway
houses and had undermined the deterrence value of real prison time. `

Officials said the Justice Department review was prompted by a federal judge's complaint in a West
Virginia tax-fraud case. They acknowledged that the policy change also could have a big impact on
financial executives convicted of federal crimes because they will have less hope of evading prison time.

"The message is that we are not going to be treating white-collar criminals any differently than the law
mandates," Justice spokesman Mark Corallo said. 'Ihe new policy, first reported by Newsweek
magazinc, is also likely to affect hundreds of cases working their way through the judicial system.

The new approach has come under fire from the defense bar and prisoner advocates, who say it will
increase crowding and decrease the chances for prosecutors to strike deals with low-risk offenders

"It's a cheap political trick on the part of the people who have done this," said Elimbeth Alexander,
director of the National Prison Projeet ofthe Anrerican Civil Liberties Union. "It raises very serious
questions given that this is what BOP has traditionally done, and it is viewed as a reasonable option by
federal judges.-"

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Case 3:03-cv-00270-BTI\/|-POR Document 2 Filed 02/07/03 Page|D.lOQ Page 100 of 113

.Raag Singhal,l co~chainnan of the corrections committee at the National Association of Crirninal
Defense Lawyers, said removing halfway houses as a sentencing option runs counter to recent trends in
state judicial systems, which are increasineg turning to community corrections as a way to save money
and ease prison crowding.

"I don't think it's going to do anything to increase the public' s confidence in the treatment ofwhite-collar
criminals, " said Singhal, an attorney in Fort Lauderdale, F 1a who represents several clients affected by
the new policy. “They can do much more good ata halfway house than any prison. "

Linda Smith, a BOP spokeswoman, said about 600 federal prisoners are in halfway houses as part of
"direct court commitments," in which a federal judge recommended a detention more lenient than
prison. About 125 of those prisoners -- all of whom had more than 150 days remaining on their
sentences as of Dec. 20 - will be transferred to prisons beginning later this month, Smith said.

The new policy will not affect the use of halfway houses as a transitional point for prisoners nearing the
end of their sentences, ofiicials said, About 8 ,600 of the federal government' s 164, 000 prisoners are now

in halfway houses.

The original policy allowing the use of halfway houses for imprisonment was rooted in a 1985 legal
opinion by the BOP's general counsel, Smith said. But in a review of the issue, the Justice Department's
Ofliee of Legal Counsel found that the prisons bureau had overstepped its legal authority in adopting
halfway houses as a detention option.

"Community confinement does not constitute imprisonment for purposes of a sentencing order, and
BOP lacks clear general statutory authority to place in community confinement an offender who has
been sentenced to a term of imprisonment," M. Edward Whelan lII, principal deputy assistant attorney
general, wrote in a Dec. 13 legal opinion. “BOP's practice is therefore unlawful.“

Sawycr, the head of the prisons bureau, notified federal judges and other court officials of the legal
opinion and policy change Dec. 20, Halfway house inmates began receiving letters Dec. 23 notifying
them that they would be transferred to regular prisons in late January or early February.

One defendant in the Midwest, who asked that her name not be used, has been notified that she will go
to a prison more than 1,000 miles from her home rather titan live in a halfway house nearby. “'l'hey‘re
saying I can't work, I can't see my family and the sentence the judge imposed doesn't matter," said the
woman, who pleaded guilty to a fraud charge as part of an agreement with prosecutors "I would never
have agreed to this if I had known it would turn out like this."

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EXHlB/T “G”

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html

Judge prevents transfer of criminals from halfway houses to prison

By Associated Press, 1/10/2003 07:22

sPRINoFIELD, Mass. (AP) A federal judge is stalling the U.S. Department of
Justice from moving two criminals from halfway houses to federal prison.

U.S. district Court Judge Michael Ponsor issued a temporary restraining

order Thursday preventing the prison transfers of a bookie and drug dealer

he sentenced last year to halfway houses.

A new justice department policy that took effect last month ordered that
judges could no longer sentence federal prisoners to halfway houses. where
they are allowed to work or see their families during the day but are
confined overnight. The new policy also forces inmates with more than 150
days left on an existing community-based sentence to serve it out in jail.
But Ponsor said he may have punished the men differently if he knew the
government would rescind the halfway house sentencing option.

"That's something that really eats at mel and undermines the integrity of

the sentencing process," Ponsor said. \

The two criminals are Frank E. Iacaboni. of heominster. who was sentenced to
community confinement after admitting to illegal gambling and money
laundering charges, and Donovan McKenzie, a New York City man sentenced for
his part in a Springfield cocaine trafficking ring.

A third man, Mark A. Pandolfi, of Springfield. also had his time behind bars
postponed. d
Ponsor had recommended that Pandolfi serve 10 months in a community setting
rather than behind bars for refusing to testify in front of a grand jury

last month about possible loan sharking and public corruption.

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Pandolfi had not yet learned where he would serve his sentence when the
policy change went into effect. so Ponsor issued an indefinite stay for his
confinement.

Pandolfi's lawyer, Thomas J. Rooke, said he will file a motion to try to

persuade Ponsor to correct his client's sentence.

'The (Bureau of Prisonsi has now unilaterally shut the door on the judge's

intent. That was a mistake," Rooke said.

Assistant U.S. Attorney Andrew Levchuk argued that the Bureau of Prisons
always had discretion over where defendants served their time. and the
policy change is not as startling as judges and defense make it out to be.
Levchuk also argued against the restraining order Ponsor issued.

'It's our position that you have no authority to issue that order,"
Levchuk said,

Lawyers will reconvene Jan. 27 to argue their cases.

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Friday, January 10, 2003
News

Judge balks at U.S. prison policy
STEPHANIE BARRY
STAFF

SPRINGFIELD - Following a sudden change in federal prison policy, a
local judge yesterday moved to temporarily bar the government from
throwing two defendants behind bars, and postponed what may be an
inevitable stint in prison for a third.

During a hearing in U.S. District Court, Judge Michael A. Ponsor
issued a temporary restraining order against the U.S. Department of
Justice, preventing the agency from transferring two men who were
sentenced here last year from halfway houses to federal prison. They are
among 125 federal inmates serving time in community corrections
facilities who may be forced to finish their sentences behind bars,
compliments of a government crackdown on white-collar and nonviolent
criminals who have evaded jail.

The two local defendants are Frank E. Iacaboni, of Leominster. a
former bookie who last year was sentenced to community confinement after
he pleaded guilty to illegal gambling and money laundering conspiracy
charges, and Donovan McKenzie, a New York City man who was recently
sentenced for his part in a cocaine trafficking ring in this city.

A third man, former city employee Mark A. Pandolfi of Springfield.
was last month sentenced to a 10-month term for refusing to testify in
front of a grand jury about possible loan~sharking and public .
corruption. Ponsor recommended that Pandolfi serve his sentence in a
community setting rather than behind bars, but that option was abruptly
yanked last month.

The Department of Justice ordered that sentencing federal prisoners
directly to halfway houses - where they are allowed to work or see their
families during the day but are confined overnight - is no longer an
option for judges. The change was effective Dec. 20, and inmates began
receiving letters from the U.S. Bureau of Prisons about their imminent

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transfers two days before Christmas.

In addition to deleting straight community confinement from judges'
repertoires, the new policy will force any inmate with more than 150
days left on an existing community-based sentence to serve it out in
jail. The new policy will not affect the use of halfway houses for those
nearing the end of their sentences.

Halfway houses have been touted as a far less costly alternative to
prison and an effective way to allow nonviolent offenders to continue to
work and maintain relationships with their families.

Pandolfi had not yet learned where he would serve his sentence when
the policy change went into effect. Ponsor yesterday issued an
indefinite stay for the tight-lipped defendant's departure - originally
slated for Tuesday - to give defense lawyers time to mull over
strategies to keep their clients out of jail.

Pandolfi's lawyer, Thomas J. Rooke of Springfield, said he will file
a motion to try to persuade Ponsor to correct his client's sentence.

"The (Bureau of Prisons) has now unilaterally shut the door on the
judge's intent. That was a mistake," Rooke said.

Indeed, Ponsor said repeatedly in court yesterday that he may have
considered different penalties for all three defendants if he had known
the government would rescind community confinement as a sentencing
option.

"That's something that really eats at me, and undermines the
integrity of the sentencing process," Ponsor said.

Assistant U.S. Attorney Andrew G. Levchuk argued that the Bureau of
Prisons always had discretion over where defendants served their time,
and the policy change is not as startling as judges and defense make it
out to be. Levchuk also argued against the restraining order Ponsor
issued.

`"It's our position that you have no authority to issue that order,"
Levchuk said,

Indeed, Ponsor said legal skirmishes over the policy change have
begun cropping up in courts across the country, leading many judges and
lawyers into uncharted territory.

"We're all going over Niagara Falls on a tea tray," Ponsor told
Levchuk.

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(Publication page references are not available for this document.)

The group will reconvene Jan. 27 to argue their cases.

Stephanie Barry can be reached at sbarry@union-news.com

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KEY WORDS: COURT
NEWS SUBJECT: Law Enforcement; English language content; Crime/Courts;
Political/General News; Crime (GHOME ENGL GCRIM GCAT CRM)
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REGION: United States; United States; North American Countries (US
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uNtrED srATES COURT oF APPEALS JAN 2 4 2003
FoRmENn\ITHCIRCUIT °All'slioiii§lll=hii§‘
ANTONIO BUGA.R.IN-.TUAREZ, No. 03»5 5141
Petitioner - Appellant, D.C. No. CV-03-0001 l-MJL
Southern Califomia (San Diego)
V.
GRANT WEISS, Director, Paciflc Furlough ORDER
Facility; et al.,

Respondents - Appellees.

 

 

Before: RElNI-IARDT and PAEZ, Circuit Judges

Appellant’s Januaiy 23, 2003 emergency motion for a stay of the district
court’s order denying injunctive relief is granted. The Bureau of Prisons and the
Paciiic Furlough Facility are enjoined nom transferring appellant from the Pacific
Furlough Facility pending this appeal, or until father order of this court. To the
extent appellant is requesting this court to direct the district court to hold a hearing
on the merits ofappcllant’s application for atemporary restraining order, that
request is denied

The appeal filed on Ianuary 23, 2003 is a preliminary injunction appeal. See

Re!z'gious Tech. Cz‘r. v. Scorz', 869 F.2d 1306, 1308 (9th Cir. 1989) (stating an order

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“ Case 3:03-cv-00270-BTI\/|-POR DocumentZ Filed 02/07/03 Page|D.117 Page 108 of 113

03-55141

denying a temporary restraining order is appealable if it is tantamount to denial of
a preliminary injunction). Accordingly, Ninth Circuit Rule 3-3 shall apply.

The briefing schedule is set as follows: the opening brief is due not later
than February 20, 2003; the answering brief is due March 20, 2001 or 28 days
from service of the opening brief, whichever is earlier; and the optional reply brief
is due within 14 days of service of the answering brief See 9th Cir. R. 3-3(b). If
appellant fails to file timely the opening brief, this appeal will be dismissed
automatically by the Clerk for failure to prosecute See 9th Cir. r. 42-1.

This appeal and any motions pending When briefing is completed shall be

referred to the next available motions panel for disposition See 9th Cir. R. 3~3 (d].

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Date: 217/2003 2:51 P|Vl

Sender: bopwatch@yahoogroups.com

To: "BOPWatch News|etter (E-mai|)" <bopwatch@yahoogroups.com>
bcc: Shereen Char|ick

Priority: Norma|

Subject:[BOPWalcll] CCC litigation

Mobile lawyers challenge Ashcroft's halfway house order

Mobile lawsuit seeks injunction against Ashcroft order
overriding judges'
recommendations

02/07/03

ny JoE DANBORN
Staff Reporter

A group of Mobile defense lawyers has sued the Federal Bureau
of Prisons on

behalf of clients whom federal authorities are sending to
prison rather than

the halfway houses recommended by judges in their cases.

The lawsuit -- and others like it around the country -- seeks
an injunction

against a recent decision by U.S. Attorney General John
Ashcroft to quit

following recommendations from judges and other court officers
for halfway

house sentences.

Six weeks ago, an Ashcroft deputy sent a memo to the head of
the U.S. Bureau

of Prisons, telling her to stop using halfway houses
altogether. The memo

followed an opinion from the Justice Department‘s Office of
Legal Counsel

that berated the BOP for its longestanding practice of Carrying
out féderal

judges' requests regarding where convicts should serve their
time.

"Community confinement does not constitute imprisonment for
purposes of a

sentencing order, and BOP lacks clear general statutory
authority to place

in community confinement an offender who has been sentenced to
a term of

imprisonment," the opinion declares.

A Justice Department spokesman said Thursday that officials
there were
unaware of the BOP's practice until recently, even though the

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practice
itself dates back at least 37 years.

To qualify for sentencing to a halfway house, a convict must be
a

first-time, non-violent offender, a description that fits most
white»collar

criminals.

"There can't be two standards of law, one for one group of
criminals and one
for white-collar criminals," said Mark Corallo, the spokesman.

Dom Soto, one of the lawyers in the Mobile caser said he did
not object to
that logic.

"If it's letting all those creeps from Enron get out of prison
time because

they have judge friends, well l agree, let's stop it,“ Soto
said. "But it

doesn‘t take into account people in situations like our clients
are in.".

All three convicts in the Mobile lawsuit were sentenced to
terms of five

months or less, with the judge in each case recommending that
the time be

served at the Community Corrections Center on the Mobile Bay
Causeway. Now,

however, the BOP has ordered them to report to penitentiaries.

As with most halfway house cases, the three Mobile convicts
each convinced a

judge and other court officers that society and the inmates
would be better

served by allowing them to continue to work.

April Mizell Estes, of Citronellel pleaded guilty to bank
fraud. She has a

4-year-old daughter, an infant son and a third child due in
May. Chief U.S. -
District Judge Charles Butler Jr. sentenced her to five months
at the

halfway house and ordered her to repay $75,275, which she has
been paying

back ahead of schedule, according to the lawsuit.

Antonio Madden and his wife pleaded guilty to conspiring to
possess Ecstasy

with the intent to distribute. They faced up to 12 months of
confinement.

Hearing that Madden's wife was disabled and needed surgery and

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that Madden

would have to support her, Senior U.S. District Judge Richard
Vollmer Jr.

sentenced her to home confinement and Madden to the halfway
house.

Scotty Summers likewise pleaded guilty to conspiring to deal

Ecstasy and got

a five-month term from Vollmer, with the added recommendation
that he be

admitted to drug and mental health treatment programs at the

halfway house.

Instead, the BOP wants him to enter a Mississippi prison that
offers no such

programs, the lawsuit states.

All three are due to report to prison before the end of the
month. Public

defender Chris Knight, Estes' lawyer, said he would ask Butler
to postpone

that deadline until after the judge has heard arguments on the
convicts'

request for a restraining order.

A BOP spokeswoman said the new policy means 125 inmates face
transfer from

halfway houses to prison. She offered no guess as to how many
inmates get

halfway house sentences each year, but said officials had
determined the

additional inmates would place no strain on the federal prison
System. For

now, inmates may only enter a halfway house to serve out the
final 10

percent of their sentences.

Late last month, a federal judge in Washington, D.C., blocked
the BOP from

sending a convict to prison. while a judge in Detroit ruled
against a

convict there. Cases are pending in Arkansas, Maryland,
Massachusetts, New

York, North Carolina, Tennessee, according to the National
Association of

Criminal Defense Lawyers.

Already, defense lawyers and judicial officers are looking for
ways around

the new policy. After the Justice Department decided that the
change would

affect only those half way house inmates with 150 days or more
left to

serve, Butler took one month off Estes' sentence, but the BOP
still ordered

her to report to prison in Tallahassee, Fla. Moreover, U.S.
marshals in .

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Mobile asked the BOP for an exception in Estes' case due to a
clerical error
on their part, but the BOP turned them down, Knight said.

On Wednesday, the same day the Mobile lawsuit was filed, Butler

sentenced

another of Knight's clients to five years of probation, but
made it a

condition of that probation that he serve five months Of it in
a halfway

house. whether that and similar maneuvers stand unchallenged
remains to be
seenr Knight said.

"It does somewhat complicate things because we've always relied
on the

court's authority to at least recommend halfway house
confinement in less

serious cases."

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Howard 0. Kieffer

Executive Director

Federal Defense Associates

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FOR THE NINTH CIRCUIT
DEBORAH E. BENTON, ) Civil Action No.
Petitioner, g
v. § PROOF OF SERVICE
)

JOHN A. ASHCROFT, AT'I`ORNEY )
GENERAL, UNITED STATES)
DEPARTMENT OF JUSTICE and UNITED )
STATES DEPARTMENT OF JUSTICE )
FEDERAL BUREAU OF PRISONS,

)
)
Respondents. )
)

 

I, the undersigned, say:

1. That I am over eighteen (18) years of age, a resident of the County of San Diego,

State of Califomia, not a party in the within action, and that my business address is 225 Broadway,
Suite 900, San Diego, California, 92101-5008; and

2. That I served delivered and original and four copies of the PETITION FOR WRIT

OF HABEAS CORPUS AND MEMORANDUM AND MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT FOR WRIT OF HABEAS CORPUS and APPLICATION FOR
PRELIMINARY INIUNCTION and to the United States District Court, Southern District of
Califomia, and

3. That l served the a copy of the Within PETITION FOR WRIT OF HABEAS

CORPUS AND MEMORANDUM AND MEMORANDUM OF POINTS AND AUTHORITIES IN
SUPPORT FOR WRIT OF HABEAS CORPUS and APPLICATION FOR PRELIMINARY
INJUNCTION to all parties via certified mail:

JOHN D. ASHCROFT, Attorney General
of the United States

U.S. Department of Justice

950 Pennsy|vania Avenue NW
Washington, D.C. 20530-0001

FEDERAL BUREAU OF PR|SONS
Department of Justice

320 First Street NW
Washington, D.C. 20534

4. That the same were delivered and deposited in the U.S. maiis, first class postage

prepaid, at San Diego, California, on February 7, 2003.

I certify that the foregoing is true and correct Executed Febru 2003, at San Diego,
Califomia.

M/A§'GARITA don'z':'ALEs

 

